 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1800 Page 1 of 122



 1 Scott A. McMillan, SBN 212506
   The McMillan Law Firm, APC
 2 4670 Nebo Dr., Suite 200
   La Mesa, CA 91941-5230
 3 Tel. 619-464-1500 x 14
   Fax. 619-828-7399
 4
   Attorneys for Plaintiff,
 5 Lycurgan, Inc.
 6                        UNITED STATES DISTRICT COURT
 7                       SOUTHERN DISTRICT OF CALIFORNIA
 8
 9    LYCURGAN, INC., a California            Case No.:14-cv-00548-JLS-BGS
      corporation, d/b/a Ares Armor,
10          Plaintiff,                        SECOND AMENDED COMPLAINT
11                                            FOR DAMAGES; DEPRIVATION OF
            vs.                               CIVIL RIGHTS (BIVENS ACTION);
12                                            JURY TRIAL DEMAND.
      EARL GRIFFITH, an individual,
13    UNKNOWN NAMED                           (1) First Amendment
      TECHNOLOGIST, an individual,            (2) Second Amendment
14    UNKNOWN NAMED AGENTs I-                 (3) Fourth Amendment
      VII, individuals, and DOES I-X, in      (4) Fifth Amendment
15    their individual capacities.
                                              DEMAND FOR JURY TRIAL
16          Defendants.

17
           Plaintiff LYCURGAN, INC., a California corporation, f/k/a Ares Armor
18
     alleges:
19
                                      JURISDICTION
20
           1. This is a civil action for damages, brought pursuant to Bivens v. Six
21
     Unknown Named Agents of the Federal Bureau of Narcotics, 403 U.S. 388 (1971).
22
     The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343,
23
     2201, and 2202.
24
                                           VENUE
25
           2. Venue is proper in the Southern District of California pursuant to Title
26
     28, United States Code, Section 1391(e)(1)(B), because a substantial part of the
27
     events or omissions giving rise to the claim occurred in this district.
28
  Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1801 Page 2 of 122



 1                                        PARTIES
 2          3. At all times relevant to this Complaint, Plaintiff LYCURGAN, INC.
 3 (hereinafter referred to as “Plaintiff” or “LYCURGAN”), a California corporation,
 4 is a corporation which does business in San Diego County, California under the
 5 fictitious business name of “Ares Armor.” Plaintiff is a manufacturer and
 6 distributor of "sporting goods" merchandise and "tactical" equipment used by law
 7 enforcement and military. The subject merchandise which was the ostensible
 8 subject of the raid of March 15, 2014, is known in the sporting goods market as
 9 AR-15 variant "unfinished lower receiver." Unfinished lower receivers are
10 marketed to be finished by hobbyists consumers as a component of a
11 semiautomatic, magazine fed, sport-utility rifle of the style commonly referred to
12 as an “AR-15.” LYCURGAN’s sales of items which individuals use to make their
13 own firearms is in keeping with longstanding American tradition. The freedom to
14 make a firearm has been passed down through the Second Amendment. Thomas
15 Jefferson, in 1793, noted:
16           “[O]ur citizens have always been free to make, vend, and export arms. It is
17          the constant occupation and livelihood of some of them.” Thomas Jefferson,
18          3 Writings 558 (H.A. Washington ed., 1853).
19 This tradition remains alive today, on May 16, 2016 the Second Amendment right
20 of the individual to acquire arms has been affirmed by the Ninth Circuit Court of
21 Appeals in Teixeira V. County of Alameda, 822 F.3d 1047 (2016).
22          4. During the subject raid on LYCURGAN’s premises, Defendants
23 obtained possession of LYCURGAN’s customer list. That “customer list” is
24 “property” of LYCURGAN and A protected asset according to California Civil
25 Code section 3426.1, subd. (d).
26          5. LYCURGAN’s customers include:
27          a.     Individuals who lawfully purchased such unfinished lower receivers
28                 prior to the BUREAU OF ALCOHOL, TOBACCO, FIREARMS,


     14-cv-00548-JLS-BGS         Second Amended Complaint                                  2
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1802 Page 3 of 122



 1                 AND EXPLOSIVES (hereinafter referred to as “BATFE”) deeming
 2                 some unfinished lower receivers to be firearms. As a result of the
 3                 incipient interpretation, and the BATFE’s use of such interpretation
 4                 to subsequently implement regulatory and criminal investigations
 5                 against Plaintiff and its customers, those individual customers cannot
 6                 sell or transfer such unfinished lower receivers in their possession.
 7          b.     Individual and business entity customers who are not federal firearm
 8                 licensees and who possess or have sold the unfinished lower receivers
 9                 now deemed by the BATFE to be firearms. As a result of the new
10                 interpretation, these customers can no longer manufacture or sell
11                 unfinished lower receivers with characteristics defendants herein have
12                 now deemed to subject such products to regulation as a firearm. The
13                 new interpretation is inconsistent with law, regulation, and the prior
14                 interpretations and opinions of the BATFE, and these resulting
15                 inconsistencies render the affected customers unable to understand or
16                 comply with the law; and
17          c.     Individual and business entity customers who are not federal firearm
18                 licensees and who have sought to distribute a product similar to the
19                 subject product now deemed by the BATFE to be a firearm. These
20                 customers desire to distribute or resell their unfinished lower
21                 receivers with characteristics defendants herein have now deemed to
22                 subject such products to regulation as a firearm. Customers rely upon
23                 fair and objective application of the laws and regulations regarding
24                 firearm purchases, modifications, manufacture, and sales in order to
25                 comply with the law in engaging in such activities with firearms or
26                 the constituent parts that may become firearms. In the absence of fair,
27                 consistent, and objective application of such laws and regulations, the
28                 resulting inconsistencies render affected customers unable to


     14-cv-00548-JLS-BGS         Second Amended Complaint                                   3
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1803 Page 4 of 122



 1                 understand or comply with the law.
 2          6. LYCURGAN and its customers have a reasonable expectation of privacy
 3 in their transactions of unfinished lower receivers and other non-regulated parts.
 4 Further, the BATFE and other Federal Government agencies are specifically
 5 prohibited from directly linking non-National Firearms Act firearms to their
 6 owners, as set forth in 18 USC § 926:
 7          “No such rule or regulation prescribed [by the Attorney General] after
            the date of the enactment of the Firearms Owners Protection Act may
 8          require that records required to be maintained under this chapter or
            any portion of the contents of such records, be recorded at or
 9          transferred to a facility owned, managed, or controlled by the United
            States or any State or any political subdivision thereof, nor that any
10          system of registration of firearms, firearms owners, or firearms
            transactions or disposition be established. Nothing in this section
11          expands or restricts the Secretary's authority to inquire into the
            disposition of any firearm in the course of a criminal investigation.”
12
            7. Plaintiff has lost customers as a result of public fear of the BATFE and
13
     its agents and the unjustified and unlawful conduct described herein.
14
            8. LYCURGAN brings the following claims set forth in First Claim for
15
     Relief, infra, on its own behalf as well as on behalf of its customers, and the
16
     remainder on its own behalf.
17
            9. EARL GRIFFITH is the Chief of the Firearms Technology Branch of the
18
     BATFE. EARL GRIFFITH is sued in his individual capacity.
19
            a.     EARL GRIFFITH falsely suggested that persons in the same class as
20
                   Plaintiff, i.e., those in possession of the EP Arms unfinished lower
21
                   receivers, were in possession of un-serialized firearms, or otherwise
22
                   receivers or frames, a suggestion which he knew or reasonably should
23
                   have expected would result in the deception of a judicial officer
24
                   resulting in the issuance of search warrants, the execution of those
25
                   warrants and such injury and upset resulting therefrom, and possible
26
                   unjust criminal prosecution against the Plaintiff or those similarly
27
                   situated as Plaintiff.
28
            b.     EARL GRIFFITH intended to suppress the communication of

     14-cv-00548-JLS-BGS          Second Amended Complaint                                 4
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1804 Page 5 of 122



 1                 information contained on the EP Arms unfinished lower receiver
 2                 published through the “indexing” and use of different colored
 3                 materials.
 4          10. Defendant UNKNOWN NAMED TECHNOLOGIST is sued in his or
 5 her individual capacity.
 6          a.     Defendant UNKNOWN NAMED TECHNOLOGIST is identified by
 7                 the reference to him or her as “FTB Enforcement Officer [redaction]”
 8                 at paragraph 19 of the Affidavit that deceptively formed the basis for
 9                 the issuance of the Search Warrants executed against Plaintiff herein.
10                 [Exhibit E, p. 8, ¶ 19.] Defendant UNKNOWN NAMED
11                 TECHNOLOGIST falsely suggested that persons in the same class as
12                 Plaintiff were in possession of un-serialized firearms, or otherwise
13                 receivers or frames, a suggestion which he or she knew or reasonably
14                 should have expected would result in the deception of a judicial
15                 officer resulting in the issuance of search warrants, the execution of
16                 those warrants and such injury and upset resulting therefrom, and
17                 possible unjust criminal prosecution against the Plaintiff or those
18                 similarly situated as Plaintiff. In truth, those not “engaged in the
19                 business” of manufacturing firearms, i.e., Plaintiff’s customers that
20                 are hobbyist-consumers completing unfinished lower receivers for
21                 their own personal use or education rather than “as a regular course of
22                 trade or business with the principal objective of livelihood and profit
23                 through the sale or distribution of the firearms manufactured,” need
24                 not affix a serial number to either their unfinished lower receiver or
25                 completed functional lower receiver.
26          b.     Plaintiff is informed and believes that Defendant UNKNOWN
27                 NAMED TECHNOLOGIST falsely stated that he or she had
28                 “determined that the material that comprises the main body of the


     14-cv-00548-JLS-BGS          Second Amended Complaint                                   5
  Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1805 Page 6 of 122



 1                 variant lower receiver is formed at a different time in the
 2                 manufacturing process than that which comprises the plug. As a result
 3                 of the two plastics being poured at two different times, the receiver
 4                 and plug being are formed in such a way that they are not adhered to
 5                 each other. As such, the plug can be removed and the firearm can
 6                 readily be placed into a firing condition.” [Exhibit E, p. 8, ¶ 19.]
 7          c.     Defendant UNKNOWN NAMED TECHNOLOGIST intended to
 8                 suppress the communication of information contained on the EP
 9                 Arms unfinished lower receiver published through the “indexing” and
10                 use of different colored materials.
11          11. Defendant UNKNOWN NAMED AGENT I is the affiant on that
12 Affidavit signed in support of the Search Warrant executed on March 14, 2014.
13 Despite an effort to determine the name of said Defendant, Plaintiff remains
14 ignorant of the true name of UNKNOWN NAMED AGENT I and thus refers to
15 such defendant accordingly. A redacted copy of such warrant attested to by this
16 defendant is attached hereto as Exhibit ‘A’.
17          a.     Defendant UNKNOWN NAMED AGENT I falsely cited the Statute
18                 defining firearms in order to deceive the magistrate Judge into
19                 believing that there was probably cause to believe that a crime had
20                 been committed. Specifically, UNKNOWN NAMED AGENT I, The
21                 agent wrote in the affidavit at Paragraph 9, page 3, the following:
22                         Definition of a "Firearm"
                           9. A "firearm" is "any weapon . . . which will or is designed to
23                         or may readily be converted to expel a projectile by the action
                           of an explosive." 18 U.S.C. §921 (a)(3)(A). This definition
24                         includes "the frame or receiver of any such weapon," 18 U.S.C.
                           § 92l(a)(3)(B), and "any combination of parts either designed
25                         or intended" from which a firearm can be "readily assembled."
                           18 U.S.C. §921(a)(4)(C). A "receiver" under 18 U.S.C. §
26                         921(a)(3)(B) includes a "lower receiver."
                           [Exhibit E, P.3, ¶ 9.]
27
28                 However, the above “description” is false, and does not set forth the


     14-cv-00548-JLS-BGS           Second Amended Complaint                                6
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1806 Page 7 of 122



 1                 correct definition of a “firearm” under the cited federal statute. The
 2                 probable cause created by the Affidavit, is that of a violation of a
 3                 fictional statute wholly created by UNKNOWN NAMED AGENT I.
 4                 UNKNOWN NAMED AGENT I materially changed 18 U.S.C.
 5                 §921(a)(4)(C), which relates only to a specific group of “firearms”
 6                 known as “Destructive Devices.”1 Sans UNKNOWN NAMED
 7                 AGENT I’s creative statutory additions and omissions, 18 U.S.C.
 8                 §921(a)(4)(C) is completely unrelated to this case. By picking and
 9                 choosing words from inapplicable sections, removing any reference
10                 to “Destructive Device” and instead using the general term “firearm”
11                 in proximity to 18 U.S.C. § 92l(a)(3)(B) to give the invented statute
12                 the appearance of proper context, UNKNOWN NAMED AGENT I
13                 was able to present to the Magistrate a deceptive document which the
14                 Magistrate relied upon, during the night, in determining that a warrant
15                 should be issued.
16          b.     Defendant UNKNOWN NAMED AGENT I falsely attested that
17                 Plaintiff was in possession of un-serialized firearms, or otherwise
18                 receivers or frames, a suggestion which he or she knew or reasonably
19                 should have expected would result in the deception of a judicial
20                 officer resulting in the issuance of search warrants, the execution of
21                 those warrants and such injury and upset resulting therefrom, and
22                 possible unjust criminal prosecution against the Plaintiff or those
23
            1
24           A “destructive device” relates to items such as grenades, rocket launchers,
     mines, missiles, bombs, and some weapons with a bore of more than one-half inch
25   in diameter. The regulation and laws concerning “destructive devices” carry more
26   stringent requirements than other types of “firearms.” By replacing the term
     “destructive device” with the term “firearm,” the agent was deceptively able to lift
27   the more stringent statutory requirements relating to bombs, rockets, and missiles
28   and place those requirements onto every other class of “firearm.” See 18 U.S.C.
     §921(a)(4).

     14-cv-00548-JLS-BGS          Second Amended Complaint                                  7
  Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1807 Page 8 of 122



 1                 similarly situated as Plaintiff. In truth, those not “engaged in the
 2                 business” of manufacturing firearms, i.e., such as Plaintiff’s
 3                 customers that are hobbyist-consumers completing unfinished lower
 4                 receivers for their own personal use or education, rather than “as a
 5                 regular course of trade or business with the principal objective of
 6                 livelihood and profit through the sale or distribution of the firearms
 7                 manufactured” need not affix a serial number to either their
 8                 unfinished lower receiver, or a completed functional lower receiver.
 9          c.     Defendant UNKNOWN NAMED AGENT 1 intended to suppress the
10                 communication of information contained on the EP Arms unfinished
11                 lower receiver published through the “indexing” and use of different
12                 colored materials.
13          12. Defendants UNKNOWN NAMED AGENTs II through VII are those
14 agents that participated in the search of the Ares Armor location in National City
15 on March 15, 2014, who engaged in the vandalism of those premises, the
16 asportation of the goods that were not listed on the inventory list, misuse of the
17 comfort facilities, and damaging of the furniture and fixtures therein. Despite an
18 effort to determine the name of said Defendants, Plaintiff remains ignorant of the
19 true name of UNKNOWN NAMED AGENTs II through VII and thus refers to
20 such defendants accordingly.
21          13. Plaintiff is informed and believes, and based thereon, alleges that each
22 of the Defendants designated as DOES I-X are intentionally or negligently
23 responsible, in some manner, for the events and happenings described herein. The
24 true names and capacities of the various DOES are not known to Plaintiff.
25 Plaintiff is informed and believes that DOES I-X are special agents of the BATFE
26 who unlawfully obtained and executed a search warrant at the four San Diego
27 County business locations of Plaintiff. The BATFE has refused to disclose the
28 names of its participating agents, including the affiant who applied for the search


     14-cv-00548-JLS-BGS          Second Amended Complaint                                  8
  Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1808 Page 9 of 122



 1 warrant. Plaintiff will amend this Complaint to reflect the true names and
 2 identifies of the aforementioned parties at such time as they become known.
 3          14. At all times relevant to this Complaint, each Defendant DOE was an
 4 individual residing, on information and belief, in San Diego County, California,
 5 and an officer, agent, and employee of the BATFE.
 6          15. Plaintiff is informed and believes and on such basis alleges that at all
 7 relevant times, that the defendants, including the Defendants DOES I-X
 8 (hereinafter referred to as “Defendants”), and each of them, were the knowing
 9 agents of one another, and that Defendants directed, ratified, and/or approved the
10 conduct of each of the other Defendants, and each of their agents or employees,
11 and are therefore vicariously liable for the acts and omissions of their co-
12 defendants, their agents and employees, as more fully alleged herein. Moreover,
13 all of the Defendants, and each of them, agreed upon, approved, ratified, and/or
14 conspired to commit all of the acts and/or omissions alleged in this Complaint.
15
16                              FACTUAL ALLEGATIONS
17          16. LYCURGAN brings this action against those Defendants sued in their
18 individual capacities, to recover among other things: lost profits, impaired earning
19 capacity, personal property damages, real property damages, remedies for
20 violations of its Civil Rights, attorney’s fees, costs of suit and expenses,
21 compensatory, punitive and exemplary damages, and any other relief the Court
22 deems appropriate.
23
24                                    BACKGROUND
25          17. Plaintiff was founded by former Marine Sergeant Dimitri Karras
26 following his Honorable Discharge after eight years of service in foreign lands in
27 defense of the United States. Sgt. Karras had served in the Marines as
28 infantryman, completing separate deployments in Theaters of Operation Iraq and


     14-cv-00548-JLS-BGS         Second Amended Complaint                                  9
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1809 Page 10 of 122



 1 then Afghanistan. After eight years of service to this country, Mr. Karras was
 2 inspired to pursue the American Dream by starting a business which would
 3 provide manufacturing jobs utilizing skilled labor in San Diego County,
 4 California. Sgt. Karras is the Chief Executive Officer of LYCURGAN.
 5          18. LYCURGAN began operations in Oceanside, California in 2010.
 6 Plaintiff began as a manufacturing business, designing and manufacturing
 7 backpacks, slings, cumberbunds and other textile based equipment for use by
 8 Marines and soldiers.
 9          19. Although lacking formal training in business, Dimitri Karras had been
10 trained in leadership and organization skills by the Marine Corps. Although
11 infantryman skills found little purpose in business, the values and traits instilled
12 by the Marine Corps such as courage, resourcefulness, flexibility and the ability to
13 inspire proved applicable in building a company.2 Mr. Karras applied Marine
14 Corps principles such as "lead by example" and "make sound and timely
15 decisions" in the infant company.3 As a result, LYCURGAN burgeoned.
16          20. The principal business of manufacturing textile based tactical
17 equipment diverged into another line after Mr. Karras and other employees of
18 Plaintiff began making their own custom firearms. At the start of this litigation,
19 LYCURGAN was a retailer of sporting goods and tactical equipment including
20 clothing, firearm components, and firearms related accessories. Since 2011,
21 Plaintiff has provided milled or cast aluminum metal to its customers for those
22 customers to fabricate and assemble their own sport-utility firearms. Plaintiff set
23 up a small retail store in City of Oceanside, and one in National City. Plaintiff
24 also operated a sewing factory in Oceanside, sewing and assembling the tactical
25 gear. Plaintiff maintained a fourth location for mail order fulfillment. In addition,
26
27          2
                http://www.marines.com/being-a-marine/leadership
28
            3
                http://www.marines.com/history-heritage/principles-values?nav=lp1

     14-cv-00548-JLS-BGS          Second Amended Complaint                                10
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1810 Page 11 of 122



 1 it operated a Website (www.aresarmor.com) through which it sold sporting goods
 2 and tactical equipment, including “80%” AR-15 unfinished lower receivers.
 3          21. From its modest beginnings in 2010 when Sgt. Karras sold his couch to
 4 finance Ares Armor, Plaintiff grew from a small one person business to employ
 5 about 40 people at the time of the raid. Plaintiff’s operations grew from no
 6 revenue to a multi-million dollar operation employing many former Marines and
 7 spouses of Marines. In a time when manufactured goods are imported into the
 8 United States, Plaintiff provided training to otherwise unskilled workers,
 9 employment to skilled workers in manufacturing, and provided a starting point for
10 others in the retail distribution trade.
11          22. In late 2013, Plaintiff began purchasing unfinished lower receivers from
12 EP Arms, LLC (“EP Arms”). Said unfinished lower receivers are manufactured
13 using polymer material, rather than cast or forged metal.
14          23. On or about July 20, 2013, Attorney Jason Davis (“Davis”) whilst
15 acting on behalf of EP Arms, sent by FedEx a letter to EARL GRIFFITH, in his
16 capacity as the Chief of the Firearms Technology Branch of the BATFE, seeking
17 clarification as to whether the unfinished lower receiver manufactured by EP Arms
18 was a “firearm” under the ATF’s interpretation of 18 U.S.C. § 921(a)(3) . A copy
19 of that letter is attached as Exhibit ‘A.’
20          24. On or about February 7, 2014, EARL GRIFFITH provided a response
21 to Davis’s letter. A copy of that letter is attached hereto as Exhibit ‘B.’ Within
22 that letter, EARL GRIFFITH articulated his misapprehension that the EP Arms
23 had manufactured a lower receiver with a empty fire-control cavity, and then
24 backfilled that cavity with a different colored polymer material: “We further note
25 that the fire-control cavity has been formed and then, at a later time, filled in with
26 plastic material.” [Exhibit B, page 2.] In fact: the fire-control cavity was not
27 formed and then, at a later time, filled in with plastic material.
28          25. On March 4, 2014, Davis responded by mailing a letter by FedEx to


     14-cv-00548-JLS-BGS         Second Amended Complaint                               11
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1811 Page 12 of 122



 1 EARL GRIFFITH, explaining that the “biscuit” of the EP Arms unfinished lower
 2 receiver which EARL GRIFFITH had believed to be the filling, was actually
 3 manufactured first, before the remaining material had been formed surrounding
 4 that biscuit. A copy of that letter is attached hereto as Exhibit ‘C.’
 5          26. The ATF responded to Davis’s letter set forth at Exhibit ‘C’, in that
 6 undated letter attached as Exhibit ‘D.’ That undated letter was written sometime
 7 after March 4, 2014, but lacked a date. In such undated letter, EARL GRIFFITH
 8 acknowledged his misapprehension of the manufacturing process of the EP Arms
 9 unfinished lower receiver. But, EARL GRIFFITH provided new and different
10 reasons why the EP Arms unfinished receiver was a “firearm receiver.” EARL
11 GRIFFITH in this letter now proffered that the biscuit differentiated the fire-
12 control area from the rest of the receiver and thus facilitated the process of making
13 the receiver into a functional firearm. [Exhibit D, page 6.] And he stated that the
14 “fire control area is created during the manufacturing process through the use of
15 the biscuit.” [Id.] Further, for the first time, EARL GRIFFITH claimed that the
16 excess material extending past the exterior walls of the casting, indicating the
17 approximate locations of the holes to be drilled for the selector, hammer, and
18 trigger pins comprised location “indexing” marks sufficient to classify the
19 unfinished lower receiver as a firearm. [Exhibit D, pages 5-6.]
20          27. Plaintiff is informed and believes, and based thereon alleges, that
21 Defendants EARL GRIFFITH, UNKNOWN NAMED TECHNOLOGIST, and
22 DOES I-X, intentionally failed to affix a date to the letter shown in Exhibit D.
23 The omission was intentionally made in order to conceal the timing of the decision
24 making and thereby to provide “plausible deniability” of sinister intentions
25 preceding or contemporaneous with the threatening behavior by the ATF
26 beginning on or about March 9, 2014 towards Plaintiff herein.
27          28. Plaintiff is informed and believes, and based thereon alleges, that the
28 rationale expressed by Defendants EARL GRIFFITH, UNKNOWN NAMED


     14-cv-00548-JLS-BGS         Second Amended Complaint                                 12
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1812 Page 13 of 122



 1 TECHNOLOGIST, and DOES I-X within Exhibit D was pretextual, and merely
 2 intended to provide a basis to leverage a bargain with Plaintiff herein to satisfy the
 3 individually named defendants’ covetous urge to obtain Plaintiff’s customer list.
 4 Specifically, Plaintiff could either hand over the customer list and its valuable
 5 supply of EP Arms unfinished lower receiver, or face the ostensible threat of a
 6 raid, seizure, and a criminal prosecution contrived from the reasoning set forth in
 7 the undated letter set forth in Exhibit D.
 8              The Subject Unfinished Lower Receivers Are Not Regulated
 9          29. A “firearm” is defined pursuant to 18 U.S.C. § 921(a)(3) as:
10                 (A) any weapon (including a starter gun) which will or is
11                 designed to or may readily be converted to expel a projectile by
12                 the action of an explosive;
13                 (B) the frame or receiver of any such weapon;
14                 (C) any firearm muffler or firearm silencer; or
15                 (D) any destructive device.
16          30. A “firearm frame or receiver” is defined in CFR 478.11 as:
17          “[t]hat part of a firearm which provides housing for the hammer, bolt
18          or breechblock, and firing mechanism, and which is usually threaded
19          at its forward portion to receive the barrel.”
20          31. A firearm is not an unfinished receiver under 18 U.S.C. § 921(a)(3).
21 See, United States v. McMurty, 24 Fed. Appx. 594 (7th Cir. 2001). The McMurty
22 Court, by a panel that included the Hon. Richard A. Posner, Circuit Judge, upheld
23 a jury instruction that defined a firearm as:
24          “any weapon which will expel a projectile by the action of an
            explosive; or any weapon which is designed to expel a projectile by
25          the action of an explosive; or any weapon which may be readily
            converted to expel a projectile by the action of an explosive; or the
26          frame or receiver of such weapon.”
27 [United States v. McMurty, 24 Fed. Appx. 594 (7th Cir. 2001)(Emphasis added).]
28          32. Thereby, the law was well-established on March 14, 2014 that whether


     14-cv-00548-JLS-BGS         Second Amended Complaint                              13
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1813 Page 14 of 122



 1 an unfinished receiver was “readily convertible” into a finished receiver was of no
 2 moment: an unfinished receiver that is readily convertible into a finished receiver
 3 is still not a firearm.
 4          33. An unfinished lower receiver is akin to an incomplete engine block that
 5 requires additional cutting, sanding, and shaping before it will function and can be
 6 installed into an engine bay as part of a complete automobile.
 7          34. As sold to Plaintiff’s customers, unfinished lower receivers cannot
 8 function as “receivers” in a “firearm” without undergoing significant machining
 9 work. Before an unfinished lower receiver can actually function as a receiver, the
10 purchaser must perform the following additional machining and drilling using
11 machining tools such as a drill press:
12          a.     Machining out the Fire-Control Cavity
13          b.     Machining out the Trigger slot
14          c.     Drilling out the Pin and Safety Selector Holes.
15          35. Only after this additional machining by the individual purchaser is
16 performed is an unfinished lower receiver actually able to function as a “receiver”
17 and thereby accept the attachment of other constituent firearm parts to become a
18 part of a functional – and thereby legally regulated – “firearm.”
19          36. With the exception of the EP Arms unfinished lower receiver which the
20 BATFE has now deemed to constitute a “firearm,” per federal law and regulation,
21 unfinished lower receivers are not deemed to be firearms and are not subject to
22 regulation by a state or federal agency.
23          37. While all unfinished lower receivers require extensive machining
24 before they are considered firearms under federal law and regulation, with respect
25 to the EP Arms unfinished lower receiver, the BATFE claims two distinct
26 characteristics and the manufacturing process of the precursor as transmuting an
27 otherwise unregulated unfinished lower receiver into a firearm subject to
28 regulation. The two apparently material characteristics are a contrast-color core


     14-cv-00548-JLS-BGS         Second Amended Complaint                              14
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1814 Page 15 of 122



 1 piece (sometimes referred to as a “biscuit”) and pre-cast indices to guide where an
 2 individual purchaser who machines a firearm receiver from the unfinished lower
 3 receiver should drill certain holes required to build a functioning firearm receiver.
 4 This latter feature, along with the colored biscuit, are collectively referred to by
 5 the BATFE as “indexing.” An unfinished lower receiver with these two additional
 6 characteristics will be hereinafter referred to as an “EP Arms unfinished lower
 7 receiver.” But for these two additional “indexing” features on an unfinished lower
 8 receiver, the BATFE would not deem an unfinished lower receiver to be a
 9 “firearm” subject to regulation. As set forth below, the BATFE’s use of these two
10 characteristics to differentiate between an otherwise unfinished lower receiver and
11 a challenged unfinished lower receiver is a distinction without logical or legal
12 support, and the implementation of the policy by defendants regulating such
13 unfinished lower receiver is a violation of federal law and the First Amendment to
14 the United States Constitution.
15          38. The BATFE also alleged that a “fire-control cavity” was created during
16 the process of manufacturing the EP Arms unfinished lower receiver. It is
17 BATFE’s long-standing position that the creation of a “fire-control cavity” causes
18 a precursor to meet the definition of a “firearm.” BATFE claims the process to
19 make an EP Arms unfinished lower receiver, requiring the creation of the biscuit
20 first and the rest of the precursor is formed around the biscuit, creates a “cavity”
21 and consequently a “firearm.” (Exhibit D).
22          39. Distinction No. 1: The Biscuit
23          a.     Unlike other unfinished lower receivers, there is a “reference” point
24                 for where the fire-control cavity in the center of the precursor can be
25                 machined out. The polymer material constituting the central area in
26                 the EP Arms unfinished lower receiver where the “fire-control cavity”
27                 will eventually be hollowed out is a different color from the other
28                 surrounding portions of the precursor. Because of this, in the


     14-cv-00548-JLS-BGS         Second Amended Complaint                                 15
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1815 Page 16 of 122



 1                 extensive process of machining and transforming a precursor into a
 2                 functional “receiver,” the EP Arms unfinished lower receiver
 3                 effectively has a color-coded “guide” indicating some of the
 4                 dimensions that need to be machined or drilled out of the unfinished
 5                 lower receiver by the person machining it into a firearm receiver.
 6          b.     The creation of the EP Arms unfinished lower receiver is a two-part
 7                 process. (Exhibit D, depicted on pg. 4) First, the lighter colored center
 8                 portion of the precursor is formed by using a liquid form of the
 9                 polymer material. This center material is identical to the material used
10                 to make the full precursor, except for its color. This center portion is
11                 referred to as the core-piece, or “biscuit.”
12          c.     After the biscuit is cured for two days, it is then suspended in the
13                 center of a mold. The biscuit has holes through it. When the
14                 additional material is poured into the mold, it flows into and through
15                 the biscuit’s holes, forming interlocking “bars” that are permanent in
16                 nature. The biscuit and additional material become a permanently
17                 bonded homogenous material, varying only in shade of color.
18          40. Distinction No. 2: Positive Indexing
19          a.     In the BATFE’s reasoning, three cylindrical projections on each side
20                 (six in total) extending beyond the surface of the precursor indicating
21                 where the holes for the hammer pin, trigger pin, and the safety
22                 selector should be drilled. An individual who purchases the EP Arms
23                 unfinished lower receiver must still drill the holes on his or her own.
24                 The holes must be drilled with skill to ensure that the holes are the
25                 correct diameters for the pins or safety selector. This means using a
26                 drill press or other reliable method for ensuring proper completion.
27          b.     Last, with the EP Arms unfinished lower receiver, as with every
28                 unfinished lower receiver, the trigger slot has to be drilled out to


     14-cv-00548-JLS-BGS          Second Amended Complaint                                 16
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1816 Page 17 of 122



 1                 accommodate the trigger. Nothing in the EP Arms unfinished lower
 2                 receiver is different from any other precursor in this regard. The only
 3                 differentiation made by BATFE is the presence of the colored biscuit
 4                 and indexing. As addressed below, these two distinctions are minor,
 5                 non-functional, and informational only and do not lawfully bring
 6                 otherwise unregulated unfinished lower receivers into the ambit of the
 7                 BATFE’s regulation as firearm receivers.
 8          c.     Such positive indexing and color coding is for informational purposes
 9                 only, and is subject to protection as such under the First Amendment
10                 to the United States Constitution. Obtaining a warrant on the account
11                 of providing material that bears indexing marks comprises a prior
12                 restraint on otherwise lawful speech and subjects the BATFE’s
13                 reliance on positive indexing to strict scrutiny.
14          d.     The EP Arms unfinished receivers, with the two indexing features
15                 incomplete, still require significant additional drilling and machining
16                 work to be performed by a purchaser in order to make them a
17                 functioning receiver.
18          41. Distinction No. 3: Alleged Creation of the “Fire-Control Cavity”
19          a.     The “fire-control cavity” for complete receivers houses the parts
20                 making up the trigger group of the firearm, i.e. the moving parts that
21                 allow the firearm to discharge. With respect to the EP Arms
22                 unfinished receiver, the BATFE stated that during its manufacture the
23                 “fire-control cavity” was created. But, as explained above, the
24                 creation of the precursor is a two-part process where the biscuit is
25                 created first and the rest of the precursor is formed around and
26                 permanently bonded to the biscuit. An actual “cavity” never exists
27                 during the creation of the EP Arms unfinished lower receiver.
28                 Nevertheless, BATFE’s knowing of its falsity took the position that


     14-cv-00548-JLS-BGS          Second Amended Complaint                                17
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1817 Page 18 of 122



 1                 the biscuit was non-existent and therefore the EP Arms unfinished
 2                 lower receiver was a therefore a “firearm.” (Exhibit D).
 3          42. Transforming the Unfinished Lower Receiver into a Functional
 4 “Receiver”: Machining out the Fire-Control Cavity
 5          a.     Only by the extensive and time-consuming act of physically removing
 6                 the biscuit and “bars” in their entirety using machinery can a
 7                 fire-control cavity be created. The colored biscuit provides visual
 8                 guidance of where a person must further machine the EP Arms
 9                 unfinished lower receiver in order to create a “fire-control cavity.”
10                 Using great skill, an individual who purchases an EP Arms unfinished
11                 lower receiver must not only remove the biscuit during process of
12                 machining and drilling the EP Arms unfinished lower receiver into a
13                 functional firearm receiver, but that person must also machine away
14                 the 1/16 of an inch of polymer material surrounding the core. This
15                 1/16 of an inch of material is the same color as the rest of the EP
16                 Arms unfinished lower receiver. Without removing the biscuit and the
17                 surrounding, undifferentiated material by precise machining, an
18                 individual cannot create a fire-control cavity large enough to accept
19                 the necessary trigger/hammer mechanism to create a functioning
20                 receiver.
21          b.     Only after such painstaking machinations is a fire-control cavity
22                 sufficiently created for the finished product to eventually be deemed
23                 under federal law and regulations to be a “receiver” and thus a
24                 “firearm” that is regulated. Thus, even the presence of a different
25                 colored core does not obviate the need for additional significant and
26                 precise machining and drilling to be performed on the EP Arms
27                 unfinished lower receiver to make it a receiver under federal law and
28                 regulation.


     14-cv-00548-JLS-BGS         Second Amended Complaint                                  18
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1818 Page 19 of 122



 1          43. Transforming the Unfinished Lower Receiver into a Functional
 2 "Receiver": Drilling out the Pin and Safety Selector Holes
 3          a.     Painstakingly machining out the fire control cavity in the manner
 4                 described above is not sufficient by itself to create a functioning
 5                 receiver because additional work is needed to make the Regulated
 6                 Precursor able to accept a trigger/hammer mechanism.
 7          b.     In addition to drilling out the biscuit, holes for the hammer and
 8                 trigger pins, and safety selector must also be drilled into the sides of
 9                 the EP Arms unfinished lower receiver before it can actually function
10                 as a receiver for a firearm. These holes hold the pins that keep the
11                 hammer, trigger and safety mechansim in place in the fire-control
12                 cavity.
13          44.    The BATFE’s Historical positions on Unfinished Lower Receivers
14                 are inconsistent with the incipient position taken with the EP Arms
15                 unfinished lower receiver.
16          a.     The BATFE has repeatedly issued agency opinion letters finding that
17                 precursors do not qualify as a “frame” or “receiver” under federal law
18                 or regulations because precursors do not and cannot provide a
19                 housing for firing mechanisms, and because precursors require
20                 additional work in order to be put into a condition where they could
21                 accept firing mechanisms or have other firearm parts attached to make
22                 a functional firearm.
23          b.     Over the years, the BATFE has issued written opinions about
24                 unfinished lower receivers to at least four manufacturers confirming
25                 that such unfinished lower receivers with certain machining
26                 operations incomplete are not “firearms.” See, e.g., BATFE letter to
27                 Bradley Reece [attached as Exhibit I] (“an AR-10 type receiver blank
28                 which has no machining of any kind performed in the area of the


     14-cv-00548-JLS-BGS          Second Amended Complaint                                19
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1819 Page 20 of 122



 1                 trigger/hammer (fire-control) recess might not be classified as a
 2                 firearm. [and] The sample is completely solid and un-machined in the
 3                 fire-control recess area and, accordingly, is not a ‘firearm’ as defined
 4                 in the GCA.”) (emphasis in original); BATFE letter to Quentin Laser,
 5                 LLC [attached as Exhibit F] (“an AR-15 type receiver which has no
 6                 machining of any kind performed in the area of the trigger/hammer
 7                 recess might not be classified as a firearm.”) (emphasis in original);
 8                 and see also BATFE letter to Kenney Enterprises, Inc. and BATFE
 9                 letter to 80 Percent Arms , attached as Exhibits G and H.
10          c.     The BATFE’s prior opinions and rulings confirm that products which
11                 require (1) milling out the fire-control cavity, (2) drilling of the
12                 selector-level hole, (3) cutting the trigger slot, (4) drilling the trigger
13                 pin hole, and (5) drilling the hammer pin hole are not “firearms.” The
14                 EP Arms unfinished receivers require all of these actions, and so
15                 cannot be considered “firearms” under law.
16          d.     In reliance on federal law and regulations, and on the BATFE’s prior
17                 opinions, interpretations and letter rulings regarding what constitutes
18                 a “firearm” “frame” or “receiver,” Plaintiff and hundreds of other
19                 Americans have established businesses selling unfinished lower
20                 receivers. Thousands of Americans have established businesses
21                 selling firearm accessories, and an estimated tens of thousands of
22                 Americans have purchased and currently possess unfinished lower
23                 receivers so they can make their own firearm.
24          e.     According to federal law and regulations, and the BATFE’s prior
25                 consistent opinions on this issue, only when a fire-control cavity is
26                 created is there an actual “frame” or “receiver” of a firearm that is
27                 properly subject to regulation.
28          f.     Notwithstanding the additional work required to turn an unfinished


     14-cv-00548-JLS-BGS          Second Amended Complaint                                   20
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1820 Page 21 of 122



 1                 lower receiver into a functioning receiver, BATFE now contends that
 2                 the EP Arms unfinished lower receiver is a “firearm” under federal
 3                 law. It so contends for two reasons:
 4                 i.      First, BATFE claims the design of the core and the projections
 5                         (respectively) constitute “indexing.”
 6                 ii.     Second, BATFE claims that the process of making the EP Arms
 7                         unfinished lower receiver created a “cavity.”
 8          45. As it is sold, the EP Arms unfinished lower receiver must, in fact, be
 9 machined in ways that BATFE has historically consistently approved, and does
10 not require additional machining in the fire-control area. The excess material
11 provides information to identify to the homebuilder, or hobbyist, and show where
12 to drill or machine. Such information is protected by the First Amendment to the
13 United States Constitution.
14          46.   BATFE’s recent, contrived and pretextual position regarding the EP
15 Arms unfinished lower receiver is arbitrary, and not based upon any of its prior
16 opinions, rulings, or reasoning. Unfinished lower receivers and jigs have been on
17 the market with BATFE’s explicit blessing for years. Unlicensed manufacturers
18 create and sell jigs to show the purchaser of unfinished lower receivers where to
19 dril. The BATFE has determined that these jigs, which perform the exact same
20 function as the EP Arms unfinished lower receiver cylindrical and color indexing,
21 are permissible and not subject to regulation as consistent with historical
22 application. Over the years, some of these jigs have evolved, and in some cases,
23 have become integral to the unfinished lower receiver itself. These evolved jigs
24 attach to the unfinished lower receiver allowing the consumer to complete the
25 receiver more easily. (See Exhibit J included pictures of unfinished lower
26 receivers and jigs.) Still, the BATFE – rightly and consistent with historical
27 application -- has declared these integrated jigs do not somehow turn a nonfirearm
28 into a regulated receiver. These unfinished lower receivers are no different from


     14-cv-00548-JLS-BGS           Second Amended Complaint                              21
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1821 Page 22 of 122



 1 the EP Arms unfinished lower receiver in any legally-significant sense. They all
 2 require the fire-control cavity to be created by the purchaser and holes for the
 3 trigger, hammer, and selector to be drilled or machined by the purchaser.
 4          47. As a result of the BATFE arbitrarily, and in violation of federal law and
 5 regulation, deeming the EP Arms unfinished lower receiver to be “receivers”
 6 subject to regulation as “firearms,” Plaintiff’s customers have had their EP Arms
 7 unfinished lower receivers rendered untransferable.
 8          48. By the BATFE’s incipient, arbitrary, and historically inconsistent
 9 designation of the EP Arms unfinished lower receiver as a firearm, Plaintiff’s
10 customers have also been unable to manufacture, transfer, or sell EP Arms
11 unfinished lower receiver, and have had prior sales or transfers of EP Arms
12 unfinished lower receiver brought within the ambit of a criminal act, potentially
13 making such customers unknowing criminals where they had no intent or notice
14 that sale or transfer of such a precursor required compliance with federal and state
15 laws regarding the transfer or sale of firearms.
16          49. By the BATFE’s incipient, arbitrary, and historically inconsistent
17 designation of the EP Arms unfinished lower receiver as a firearm, all such
18 affected customers who engaged in the above activity who are federal firearms
19 licensees are subject to potential regulatory penalty, including revocation of their
20 FFL by defendants, and subject to potential criminal penalty. Such customers
21 potentially acquired, held, and disposed of EP Arms unfinished lower receiver
22 without recording such transactions as required under state and federal law for
23 firearm acquisitions and dispositions. Such customers are effectively in a state of
24 criminal and regulatory “limbo,” subject to criminal prosecution until the statute of
25 limitations on such a “crime” runs, and in fear of losing their Federal Firearms
26 Dealer’s License (“FFL”) for an interminable period of time.
27          50. As a further result of the BATFE arbitrarily, and in violation of federal
28 law and regulation, deeming the EP Arms unfinished lower receiver to be a


     14-cv-00548-JLS-BGS         Second Amended Complaint                               22
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1822 Page 23 of 122



 1 “receiver,” Plaintiff’s customers who wish to manufacture their own firearm, have
 2 been denied the ability to purchase the EP Arms unfinished lower receiver for
 3 such activity. Further, such customers are unaware whether products similar to the
 4 EP Arms unfinished lower receiver now or in the future would be considered
 5 firearms by defendants, and would require such licensees to acquire, dispose of,
 6 and record such receivers they stock as firearms. In the event such licensees were
 7 obligated to treat such unfinished lower receivers as firearms, or, alternatively,
 8 chose to treat such objects as firearms due to the BATFE’s arbitrary and
 9 inconsistent rules and regulations on the issue, such licensees would be subject to
10 a hardship, insomuch as treating such unfinished lower receivers as firearms
11 would necessitate serializing and recording each and every such precursor bought
12 or sold by such licensees, at significant cost for each such precursor acquired or
13 disposed of.
14          51. Plaintiff contends that the EP Arms unfinished lower receiver is not a
15 firearm within the meaning of 18 U.S.C. § 921(a)(3) and that the EP Arms
16 unfinished lower receiver is not a frame or receiver of a firearm within the
17 meaning of 27 C.F.R. § 478.11.
18                   LYCURGAN d/b/a Ares Armor is a lawful business
19          52. The Gun Control Act of 1968 was enacted to reduce crime, not place an
20 undue burden on legal firearms owners from legal possession and use of firearms.
21 See GCA68, 90-618 sec. 101. The Gun Control Act of 1968 (“the Act”) provisions
22 contained in Title 18, Chapter 44, provide by exclusion under the definitions of
23 prohibited conduct, that an otherwise not prohibited person may make a firearm as
24 described in section 18 USC 921(a)(3):
25                 Section 922(a)(1)(A) of the Gun Control Act of 1968 (act)
26          provides that it is unlawful for any person except a licensed importer,
27          licensed manufacturer, or licensed dealer, to engage in the business of
28          importing, manufacturing, or dealing in firearms, or in the course of


     14-cv-00548-JLS-BGS         Second Amended Complaint                                23
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1823 Page 24 of 122



 1          such business to ship, transport, or receive any firearm in interstate or
 2          foreign commerce. 18 U.S.C.S. § 922(a)(1)(A).
 3                 The Act defines a manufacturer as any person engaged in the
 4          business of manufacturing firearms or ammunition for purposes of
 5          sale or distribution; and the term "licensed manufacturer" means any
 6          such person licensed under the provisions of this chapter. 18 U.S.C.S.
 7          § 921(a)(10).
 8                 "Engaged in the business" as applied to a manufacturer of
 9          firearms is defined as a person who devotes time, attention, and labor
10          to manufacturing firearms as a regular course of trade or business
11          with the principal objective of livelihood and profit through the sale
12          or distribution of the firearms manufactured. 18 U.S.C.S. §
13          921(a)(21)(C).
14                 "With the principal objective of livelihood and profit" means
15          that the intent underlying the sale or disposition of firearms is
16          predominantly one of obtaining livelihood and pecuniary gain, as
17          opposed to other intents, such as improving or liquidating a personal
18          firearms collection: Provided, that proof of profit shall not be required
19          as to a person who engages in the regular and repetitive purchase and
20          disposition of firearms for criminal purposes or terrorism. For
21          purposes of this paragraph, the term "terrorism" means activity,
22          directed against United States persons, which—
23                 (A) is committed by an individual who is not a national
24                 or permanent resident alien of the United States;
25                 (B) involves violent acts or acts dangerous to human life
26                 which would be a criminal violation if committed within
27                 the jurisdiction of the United States; and
28                 (C) is intended—


     14-cv-00548-JLS-BGS         Second Amended Complaint                               24
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1824 Page 25 of 122



 1                          (i) to intimidate or coerce a civilian population;
 2                          (ii) to influence the policy of a government by
 3                          intimidation or coercion; or
 4                          (iii) to affect the conduct of a government by
 5                 assassination or kidnapping.
 6          18 U.S.C.S. § 921(a)(22)(C).
 7          53. LYCURGAN does not sell firearms as defined under 18 USC 921(a)(3).
 8   LYCURGAN does not sell receivers or frames as defined under 18 USC §
 9 921(a)(3)(B).
10          54. LYCURGAN does not hold a license issued by the BATFE, nor is
11 Plaintiff required to be licensed by the BATFE.
12                         BATFE targets LYCURGAN for Investigation
13          55. On or about December 2012, Special Agent Gordon Geerdes,
14 employed by the BATFE, requested that Dimitri Karras provide the BATFE
15 LYCURGAN’s customer list. Karras refused to provide its customer list.
16          56. On or about March 10, 2014, agents from the BATFE communicated to
17 Plaintiff that the BATFE was in the process of obtaining a warrant against Plaintiff
18 based upon the BATFE’s incorrect determination that the subject unfinished lower
19 receivers were firearms. The BATFE also communicated to LYCURGAN that so
20 long as Karras relinquished both: all of the subject unfinished lower receivers, and
21 Plaintiff’s customer list to the BATFE, then BATFE would not obtain a warrant.
22          57. Said BATFE agents communicated words to the effect that “[in]
23 exchange for turning over our customer's private information the BATFE, the
24 agents stated that they would not “raid” Plaintiff’s facilities and would not pursue
25 “criminal charges.”
26          58. Said threats by the BATFE agents were extortionate. Said threats were
27 unlawful.
28          59. Karras agreed to the BATFE agents’ terms in order to delay an


     14-cv-00548-JLS-BGS            Second Amended Complaint                         25
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1825 Page 26 of 122



 1 impending and unjust raid against Plaintiff long enough to obtain legal protection
 2 under the law from this court.
 3          60. Plaintiff is informed and believes, and based thereon alleges, that the
 4 promise to not pursue “criminal charges,” i.e., a promise of immunity, was made
 5 without basis, was false, and entirely unauthorized. Plaintiff is further informed
 6 and believes that the BATFE agents were unable to promise or agree to any
 7 immunity from prosecution or other consideration by a Federal Prosecutor's Office
 8 or a Court in exchange for the demanded cooperation since the decision to confer
 9 any such benefit lies within the exclusive discretion of the Federal Prosecutor's
10 Office and the Court. Plaintiff is informed and believes, and based thereon
11 alleges, that said BATFE agents had not consulted with any United States
12 Attorney’s office prior to making such an offer of immunity.
13          61. LYCURGAN has an existing property interest in its reputation as a law
14 abiding business.
15          62. LYCURGAN has an existing property interest in its customer list, and
16 that such list has not been made available to the public.
17 / / /
18 / / /
19 / / /
20
21
22
23
24
25
26
27
28


     14-cv-00548-JLS-BGS         Second Amended Complaint                                 26
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1826 Page 27 of 122



 1                         LYCURGAN seeks relief in this Court
 2          63. On March 11, 2014, Plaintiff filed the initial complaint herein in this
 3 case for deprivation of Civil Rights against the BATFE, styled as Lycurgan, Inc. v.
 4 B. Todd Jones. Plaintiff then sought declaratory judgment that the EP Armory
 5 80% lower receiver (LYCURGAN’s primary retail product) is not a firearm.
 6 Plaintiff also sought a temporary restraining order and injunctive relief forbidding
 7 the BATFE and/or its officers, agents, servants, and employees from seizing
 8 LYCURGAN’s EP Armory inventory and customer list. LYCURGAN filed the
 9 complaint in response to the aforementioned demands from the BATFE to turn
10 over LYCURGAN’s unfinished lower receiver parts and confidential customer
11 list.
12          64. On March 11, 2014, Judge Sammartino, District Judge for the District
13 Court for the Southern District of California, granted LYCURGAN’s request for a
14 temporary restraining order ruling:
15        “      Presently before the Court is Plaintiff Lycurgan Inc. DBA Ares
          Armor’s (“Ares Armor”) Motion for Temporary Restraining Order
16        (“TRO”). (Mot. for TRO, ECF No. 2.) Ares Armor seeks to restrain
          Defendants B. Todd Jones—Head of the San Diego Field Office of
17        the Bureau of Alcohol, Tobacco, Firearms and Explosives—and Does
          1 through 10 (collectively, “ATF”) from seizing the Ares Armor
18        customer list and approximately $300,000 in inventory (“the
          Property”) at 11 a.m. on Wednesday, March 12, 2014. (Id. at 1–2.)
19               Having reviewed the materials submitted, the Court HEREBY
          ORDERS that any steps to deprive Ares Armor of the Property
20        SHALL NOT be executed until after the Court holds a hearing as to
          whether a preliminary injunction should issue. ATF SHALL FILE an
21        opposition to Ares Armor’s Motion for TRO on or before Friday,
          March 14, 2014. Ares Armor MAY FILE a reply, if any, at or before
22        9 a.m. on Monday, March 17, 2014. The parties are HEREBY
          ORDERED to appear for a preliminary injunction hearing on
23        Thursday, March 20, 2014, at 1:30 p.m. in Courtroom 4A.
                 IT IS SO ORDERED.”
24   [ECF No. 4.]
25          65. On March 12, 2014, an BATFE agent appeared at Plaintiff’s office with
26 the stated purpose of taking possession of Plaintiff’s unfinished lower receivers
27 and the customer list for those customers that had purchased the EP Arms
28 unfinished lower receivers. At that time, Plaintiff caused the BATFE to be served


     14-cv-00548-JLS-BGS         Second Amended Complaint                                 27
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1827 Page 28 of 122



 1 with a copy of the Court’s order issued on March 11, 2014 [ECF No. 4.]. Said
 2 BATFE agents left without LYCURGAN’s customer database or supply of EP
 3 Arms unfinished receivers.
 4          66. On March 14, 2014, the United States Attorney’s Office filed an ex
 5 parte application challenging the temporary restraining order. Paul J. Ware, the
 6 Division Counsel for the Los Angeles Field Division, of the BATFE supported the
 7 ex-parte application with his unverified statement referring to the EP Arms
 8 unfinished receivers as both “receivers” and “firearms.” [ECF No. 5-1.]
 9          67. On the same day, Judge Sammartino ruled on the United States’s ex
10 parte application, stating:
11          “      Presently before the Court is Defendants’ Ex Parte Application
            for Order: (1) Extending Injunction to Prevent Divestment of Subject
12          Matter of Temporary Restraining Order; and (2) Clarifying that
            Temporary Restraining Order Does NotRestrain Lawful Criminal
13          Proceedings. (ECF No. 5.)
                   Having reviewed Defendants’ Ex Parte Application, the Court
14          finds Defendants’ requested relief to be reasonable and equitable.
            Accordingly, the Court HEREBY ORDERS that: (1) Plaintiff
15          Lycurgan Inc. DBA Ares Armor (“Plaintiff”) and its owners, officers,
            managers, employees, and agents ARE HEREBY PROHIBITED from
16          taking any steps to destroy, transfer, sell, or otherwise divest
            themselves of the items that are the subject matter of the Court’s
17          March 11, 2014 Temporary Restraining Order (“TRO”) (see ECF No.
            4);
18          (2) the Court’s March 11, 2014 TRO DOES NOT ENJOIN lawful
            criminal proceedings, including the application for or lawfully
19          executed seizure of evidence and contraband pursuant to a search
            warrant issued by a sworn United States Magistrate Judge pursuant to
20          Federal Rule of Criminal Procedure 41; and (3) the hearing on
            Plaintiff’s motion for TRO SHALL REMAIN SCHEDULED for 1:30
21          p.m. on Thursday, March 20, 2014. However, so that the parties may
            fully address all of the facts and circumstances as alleged by one
22          another, the Court now orders that Defendants SHALL FILE a
            response to Plaintiff’s motion at or before 9 a.m. on Monday, March
23          17, 2014. Plaintiff SHALL FILE a reply at or before 12 p.m. on
            Tuesday, March 18, 2014.
24          IT IS SO ORDERED.”
25 [ECF No. 6.]
26          68. Plaintiff is informed and believes, and on that basis alleges, that all
27 Defendants were aware of the Court’s partial modification of its prior restraining
28 order to allow “lawful criminal proceedings” as opposed to pretextual, baseless,


     14-cv-00548-JLS-BGS         Second Amended Complaint                                 28
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1828 Page 29 of 122



 1 retaliatory, contrived, and otherwise unlawful criminal proceedings.
 2      UNKNOWN NAMED AGENT 1 makes false Affidavit before Magistrate
 3          69. During the night of March 14, 2014, Defendant UNKNOWN NAMED
 4 AGENT 1, with full knowledge of the Court’s order limiting the proceedings to
 5 only those “lawful criminal proceedings,” submitted a materially false affidavit to
 6 the Honorable Bernard G. Skomal of this Court for the purpose of applying for a
 7 search warrant (hereinafter referred to as “Warrant”) authorizing the search of
 8 LYCURGAN’s four business facilities, all located in San Diego County,
 9 California. A copy of the Affidavit, as redacted is, attached hereto as Exhibit ‘E.’
10          70. Magistrate Skomol relied upon the statements of UNKNOWN NAMED
11 AGENT 1 within the Affidavit in making his decision to issue the search warrant.
12          71. Based on the prevarications, dissembling, wilful non-disclosures and
13 intentionally misleading statements contained therein, Magistrate Judge Skomol
14 issued warrants for the search of four separate premises.
15          72. Plaintiff is informed and believes that the BATFE’s efforts to obtain the
16 Warrant were undertaken to punish Plaintiff for refusing to turn over the customer
17 list when it was demanded and then filing the lawsuit styled as Lycurgan, Inc. v. B.
18 Todd Jones, 14CV0548. Plaintiff is informed and believes that the BATFE
19 conducted its ensuing raid on March 15, 2014 in order to moot the lawsuit of
20 Lycurgan, Inc. v. B. Todd Jones, rather than as a sincere “crime control” effort.
21          73. Plaintiff is informed and believes, and alleges herein and in greater
22 detail below, that Defendants knowingly and intentionally provided the magistrate
23 with false statements, misrepresentations and/or omissions to obtain the Warrant.
24 Plaintiff is informed and believes that the affidavit (hereinafter referred to as
25 “Affidavit”) used to secure the Warrant misrepresented the manufacturing process
26 of LYCURGAN’s 80% unfinished polymer receivers, which Defendants
27 inaccurately contended transformed the innocuous parts into “firearms.” Also, the
28 Affidavit omitted the fact that the BATFE previously determined that a virtually


     14-cv-00548-JLS-BGS         Second Amended Complaint                               29
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1829 Page 30 of 122



 1 identical unfinished lower receiver as that at issue in the Affidavit did not
 2 constitute a “firearm” within the meaning of the Gun Control Act of 1968.
 3 Plaintiff is informed and believes that the magistrate who issued the Warrant was
 4 misled by the information contained in the Affidavit; and, that Defendants knew
 5 the information was false or would have known was false except for their reckless
 6 disregard for the truth. Plaintiff is informed and believes that, if these false
 7 statements are excised and removed from the submitted Affidavit and the
 8 wrongfully omitted information was included, the remaining contents of the
 9 Affidavit are insufficient to support the issuance of the Warrant.
10          74. In the morning of March 15, 2014, with the unlawfully and deceptively
11 obtained Warrant in hand, heavily armed personnel - draped in body armor, some
12 toting fully automatic weapons, all with pistols strapped to their thighs in urban-
13 assault/tactical configuration - conducted a simultaneous raid of Plaintiff’s four
14 locations. Agents of the BATFE entered the premises of LYCURGAN’s four
15 separate facilities, located at: (1) 206/208 N. Freeman Street, Oceanside, (2) 416
16 National City Blvd., National City, California, (3) 180 Roymar Street, Oceanside,
17 California, and (4) 2420 Industry, Oceanside, CA. The raid was executed pursuant
18 to the Warrant, as redacted at Exhibit ‘E.’
19                                   National City Raid
20          75. During the course of the search at 416 National City Blvd., National
21 City, California, the Defendants UNKNOWN NAMED AGENTs II through VII
22 unnecessarily caused property damage and disarray. Defendants UNKNOWN
23 NAMED AGENTs II through VII damaged the door frames of the glass doors in
24 order to enter the building. In order to gain entry rather than simply break the
25 glass, which could be inexpensively replaced, the UNKNOWN NAMED AGENTs
26 II through VII caused substantial destruction to the metal door frames through the
27 use of a battering ram against the aluminum.
28          76. As an outward manifestation of the animus, one, or possibly more, of


     14-cv-00548-JLS-BGS        Second Amended Complaint                                 30
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1830 Page 31 of 122



 1 Defendants UNKNOWN NAMED AGENTs II through VII, used the restroom
 2 facilities at the National City store in a manner intended to vex, shock, disgust and
 3 annoy Plaintiff’s principals and employees.
 4          77. Defendants UNKNOWN NAMED AGENTs II through VII took
 5 valuable Rudius unfinished pistol frames from the National City store. Said items
 6 had an aggregate value in excess of $950. The items were owned by Plaintiff.
 7 Plaintiff did not consent to the UNKNOWN NAMED AGENTs II through VII
 8 taking such items. Defendants UNKNOWN NAMED AGENTs II through VII
 9 intended to permanently deprive Plaintiff of its property.
10          78. Plaintiff is informed and believes, and based thereon alleges that the
11 Defendants UNKNOWN NAMED AGENTs II through VII failed to provide a list
12 of the items taken in order prevent Plaintiff from recovering through legal process
13 such property as such items did not appear on the inventory of seized items for
14 that store. Indeed, Plaintiff is informed and believes, based on the circumstances
15 of the raid, the level of vandalism, the gratuitous “tossing” of the premises, and the
16 circumstances preceding the raid, that Defendants UNKNOWN NAMED
17 AGENTs II through VII intended to steal the Rudius unfinished pistol frames, and
18 possibly other items from Plaintiff. Such acts comprise a violation of California
19 Penal Code section 487, e.g., “Grand Theft.”
20          79. Because Defendants UNKNOWN NAMED AGENTs II through VII
21 also removed the computers with the then-existing inventory of the store within its
22 accounting system, through Defendants’ conduct Plaintiff is impaired in
23 determining all that which had been pilfered by Defendants UNKNOWN NAMED
24 AGENTs II through VII.
25          80. Defendants UNKNOWN NAMED AGENTs II through VII were
26 observed using the store’s property to pack up the documents they seized.
27 Specifically, defendants dumped the contents of LYCURGAN’s storage bins on
28 the floor, and then used the emptied bins to pack up the documents that they


     14-cv-00548-JLS-BGS         Second Amended Complaint                                31
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1831 Page 32 of 122



 1 seized. Papers were strewn all about the store.
 2          81. Defendants UNKNOWN NAMED AGENTs II through VII used a
 3 sledge hammer that was at the National City store which had been used to do
 4 remodeling to beat open a safe. Members of the public watched through the
 5 window as the National City store raid took place. One of those members of the
 6 public recorded a video of the agents beating the safe open. That video has now
 7 been published on YouTube.4 The safe is destroyed, and the sledge hammer is
 8 damaged.
 9                                   Oceanside Raids
10          82. During the course of the search at 180 Roymar Street, Oceanside,
11 California, the BATFE agents took approximately 5,804 unfinished polymer parts
12 otherwise known as “unfinished polymer lower receivers.”
13          83. Plaintiff is the owner of the 5,804 unfinished polymer parts.
14          84. Such 5,804 unfinished polymer parts are not “contraband” or “other
15 property that the person from whom the property was seized may not legally
16 possess” as such terms are used within the meaning of 18 U.S.C. § 983(a)(1)(F).
17 Nor are such 5,804 unfinished polymer parts "contraband" or "other property that
18 is illegal to possess" as such terms are used within the meaning of 18 U.S.C. §
19 983(d).
20          85. The search and seizure of LYCURGAN, and its pending criminal
21 investigation, has gained substantial public news coverage and attention.
22 Consequently, there is a cloud over LYCURGAN, and customers are reluctant to
23 continue engaging in business with LYCURGAN. Before the search and seizure,
24 LYCURGAN was a highly profitable small business. Since the day of the search
25 and seizure, LYCURGAN struggled simply to stay open. Thereafter,
26 LYCURGAN sold its business.
27
28
            4
                https://www.youtube.com/watch?v=6KFjjLXDZ4E

     14-cv-00548-JLS-BGS        Second Amended Complaint                             32
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1832 Page 33 of 122



 1          86. On March 27, 2014, the BATFE purported to give notice of seizure and
 2 administrative forfeiture proceedings of 5,804 unfinished polymer parts otherwise
 3 known as "unfinished polymer lower receivers" (“Notice”) The BATFE referred
 4 to the proceeding as BATFE Case Number: 784090-13-0011-01, Asset ID:
 5 14-ATF-009592.
 6          87. On April 5, 2014, Plaintiff submitted a Verified Claim for the seized
 7 property to the BATFE’s forfeiture division.
 8          88. On June 11, 2014, LYCURGAN filed a motion to unseal the Affidavit
 9 in the case styled as In the Matter of the Search of: Ares Armor, 206/208 N
10 Freeman St, Oceanside; Ares Armor, 416 National City Blvd; Ares Armor
11 Warehouse, 180 Roymar St, Suite D; and 2420 Industry, Oceanside, CA, Case No.
12 14CV1424 DMS JLB, United States District Court, Southern District of
13 California. On July 10, 2014, the BATFE opposed the motion. On July 17, 2014,
14 LYCURGAN filed a response to the BATFE’s opposition. The matter was
15 scheduled to be heard before Judge Sammartino on July 31, 2014.
16          89. On July 3, 2014, the BATFE executed a written statement that it would
17 not be instituting Civil Forfeiture Proceedings against the 5,804 EP Arms
18 unfinished lower receivers seized from Plaintiff.
19          90. On July 9, 2014, Plaintiff through its attorney of record made written
20 request for the release of the subject unfinished polymer parts to Assistant United
21 States Attorney assigned to a related action currently pending in this court entitled
22 Lycurgan, Inc., d/b/a Ares Armor, Petitioner v. Bureau of Alcohol, Tobacco,
23 Firearms and Explosives, Respondent (In the Matter of the Search of: Ares Armor,
24 206/208 N Freeman St, Oceanside; Ares Armor, 416 National City Blvd; Ares
25 Armor Warehouse, 180 Roymar St D; and 2420 Industry, Oceanside, CA), So.
26 Dist. Cal. Case No. 14-cv-1424-JLS.
27          91. On July 10, 2014, the United States Attorney’s office stated,
28          “[i]n this case, there is an ongoing criminal investigation that is still in the


     14-cv-00548-JLS-BGS          Second Amended Complaint                                     33
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1833 Page 34 of 122



 1          early stage of its proceedings. Gov. Exh. 4. To date, an indictment has not
 2          been sought or obtained . . .”
 3 [Case 14-cv-1424-JLS; Docket 8, page 9 (emphasis added.)]
 4
 5 Such statement was made in an opposition filed within that related action
 6 opposing the disclosure of the affidavit which accompanied the request for the
 7 search warrant issued to effect the March 15, 2014 raid on Plaintiff’s facilities,
 8 e.g., Lycurgan, Inc., d/b/a Ares Armor, Petitioner v. Bureau of Alcohol, Tobacco,
 9 Firearms and Explosives, Respondent (In the Matter of the Search of: Ares Armor,
10 206/208 N Freeman St, Oceanside; Ares Armor, 416 National City Blvd; Ares
11 Armor Warehouse, 180 Roymar St D; and 2420 Industry, Oceanside, CA), So.
12 Dist. Cal. Case No. 14-cv-1424-JLS, that:
13          92. On July 16, 2014, Plaintiff initiated in the United States District Court
14 for the Southern District of California an “anti-Forfeiture” action to recover its
15 5,804 EP Arms unfinished lower receivers styled Lycurgan, Inc. v. Todd Jones, in
16 his official capacity as Director of the Bureau of Alcohol, Tobacco, and Firearms
17 Enforcement, case no. 3:14-cv-01679-JLS-BGS.
18          93. At the July 31, 2014 hearing in case 14-cv-1424-JLS, Judge
19 Sammartino ordered the BATFE to file a supplemental brief to substantiate the
20 continued sealing of the Affidavit.
21          94. On August 14, 2014, the BATFE, rather than substantiating the
22 continued sealing of the affidavit through the requested supplemental briefing,
23 filed and disclosed a redacted version of the Affidavit attached as Exhibit E.
24 [Case 14-cv-1424-JLS; Docket 14-1.]
25          95. On December 23 2014, the BATFE acknowledged that it did not require
26 the seized EP Arms unfinished receivers for any ongoing criminal investigation.
27          96. On December 23, 2014, the BATFE attempted to return all of the siezed
28 EP Arms unfinished receivers to LYCURGAN. However the BATFE returned


     14-cv-00548-JLS-BGS         Second Amended Complaint                               34
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1834 Page 35 of 122



 1 5,786 items instead of the 5,804 which it had originally confiscated during the
 2 March 15, 2014 raid. The BATFE failed to return 18 units. The Defendants lost 18
 3 items which they contend are firearms.
 4          97. Despite returning some of the unfinished lowers to LYCURGAN, the
 5 BATFE has warned LYCURGAN that the items are subject to regulation as
 6 firearms. As the BATFE knows, the returned EP80s are essentially valueless as
 7 any attempt to transfer, sell, or otherwise recoup from the items would surely be
 8 met with harsh repercussion.
 9          98. Based on information and belief, the BATFE has maintained copies of
10 LYCURGAN’s private customer database, despite the lack of ongoing criminal
11 investigation, and despite the fact that the customer list taken from LYCURGAN
12 is in an electronic database format, including personal details about each customer
13 and their associated purchases, residencies, and personal information such as
14 limited private financial data.
15
16                                               I.
17            FIRST CLAIM FOR VIOLATION OF FIRST AMENDMENT
18                         (PRIOR RESTRAINT OF SPEECH -
19   As Against EARL GRIFFITH and UNKNOWN NAMED TECHNOLOGIST)
20                                [Damages, Attorneys Fees]
21          99. Plaintiff re-alleges, and incorporates herein as if set forth in full,
22 paragraphs 1 through 98.
23          100. Plaintiff, and its customers described above, have a right to engage in
24 speech as protected by the First Amendment to the United States Constitution,
25 which provides:
26          “Congress shall make no law respecting an establishment of religion,
            or prohibiting the free exercise thereof; or abridging the freedom of
27          speech, or of the press; or the right of the people peaceably to
            assemble, and to petition the government for a redress of grievances.
28
            101. Plaintiff has an implied right to sue derived from the First Amendment

     14-cv-00548-JLS-BGS          Second Amended Complaint                               35
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1835 Page 36 of 122



 1 to the United States Constitution, as first set out in Bivens, and as recently
 2 assumed in Wood v. Moss, 134 S. Ct. 2056, 2066 (U.S. 2014).
 3          102. Defendants EARL GRIFFITH and UNKNOWN NAMED
 4 TECHNOLOGIST were aware of the legal authority set forth in United States v.
 5 Prince, 2009 U.S. Dist. LEXIS 54116 (D. Kan. June 26, 2009), holding that
 6 indexing marks on an otherwise unfinished lower receiver do not change the
 7 unfinished nature of such receivers.
 8          103. The subject indexing marks were not illegal. Instruction or
 9 information relating to education in the process of manufacturing firearms is
10 neither illegal, or even regulated. Neither the United States Government or the
11 State of California has imposed any licensing regulation on educational
12 communications regarding gunsmithing, firearms manufacture, or firearms repair
13 as related to the subject unfinished receivers. Defendants EARL GRIFFITH and
14 UNKNOWN NAMED TECHNOLOGIST were aware that there were no such
15 limitations on publicizing instructional material, whether or not engraved on
16 physical material.
17          104. Defendants EARL GRIFFITH and UNKNOWN NAMED
18 TECHNOLOGIST were familiar with the EP Armory unfinished lower receivers,
19 as such defendants had personally inspected a sample. Defendants knew that the
20 color differences between the polymer used to manufacture the EP Armory
21 unfinished lower receiver were non-functional and solely informational.
22 Defendants knew that the indexing marks on the EP Armory unfinished lower
23 receiver were non-functional and solely informational.
24          105. Defendants intended to prevent Plaintiff and others in possession of
25 the EP Armory unfinished lower receiver from selling, transferring, completing, or
26 distributing such items because those items had the differing colors of material
27 and the indexing marks.
28          106. The indexing marks and different colors on EP Armory unfinished


     14-cv-00548-JLS-BGS        Second Amended Complaint                                36
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1836 Page 37 of 122



 1 lower receiver were and remain non-functional and solely informational, and
 2 thereby protected by the Speech clause of the First Amendment to the United
 3 States Constitution.
 4          107. The indexing marks and different colors were not directed at inciting
 5 or producing imminent lawless action and nor were such marks likely to incite or
 6 produce such action. (Brandenburg v. Ohio, 1969, 395 U.S. 444, 447, 89 S. Ct.
 7 1827, 1829, 23 L. Ed. 2d 430.)
 8          108. This First Amendment right to provide information which is already in
 9 the public domain for informational purposes is “clearly established” such that a
10 reasonable agent with the BATFE in Defendants’ situation would know it is wrong
11 to attempt to suppress speech as to matters that are in the public domain, and
12 which are not not directed at inciting or producing imminent lawless action and
13 nor were such marks likely to incite or produce such action.
14          109. Defendants UNKNOWN NAMED TECHNOLOGIST and EARL
15 GRIFFITH’S intentional conduct set forth above was a substantial factor in the the
16 issuance of a warrant as a consequence of their knowingly false characterization of
17 the EP Armory unfinished lower receiver as a firearm or receiver.
18          110. Plaintiff has suffered damages, and requests compensatory and
19 punitive damages against Defendants UNKNOWN NAMED TECHNOLOGIST
20 and EARL GRIFFITH.
21
22                                              II.
23          SECOND CLAIM FOR VIOLATION OF FIRST AMENDMENT
24    (RETALIATION FOR EXERCISE OF RIGHT TO PETITION As Against
25                     UNKNOWN NAMED AGENT I and DOES I-X)
26                                [Damages, Attorneys Fees]
27          111. Plaintiff re-alleges, and incorporates herein as if set forth in full,
28 paragraphs 1 through 110 above.


     14-cv-00548-JLS-BGS          Second Amended Complaint                                37
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1837 Page 38 of 122



 1          112. Defendant Agent I and DOES I-X lacked probable cause to conduct a
 2 search.
 3          113. Plaintiff petitioned the court for declaratory and injunctive relief in the
 4 case styled as Lycurgan, Inc. v. B. Todd Jones, 14CV0548, in response to the
 5 BATFE threatening to raid LYCURGAN’s businesses if Plaintiff did not
 6 relinquish its valuable and private customer list, and its valuable and legal EP
 7 Arms unfinished lower receivers.
 8          114. Three days following the filing of the instant action, Defendants
 9 UNKNOWN NAMED AGENT I and DOES I-X , and each of them, acting under
10 the color of their authority, obtained a Warrant through means of deception.
11 Defendants UNKNOWN NAMED AGENTs II through VII thereafter, and as a
12 consequence of the events set in motion by UNKNOWN NAMED AGENT I and
13 DOES I-X, executed an unreasonably destructive search and seizure that caused
14 Plaintiff to suffer unnecessary damages.
15          115. Under the circumstances set forth above, Plaintiff had the right to
16 petition the government for a redress of grievances without retaliation under the
17 “redress” clause and the “speech clause” of the First Amendment of the
18 Constitution of the United States by filing a lawsuit in the United States District
19 Court.
20          116. The First Amendment right to speak out against the Government,
21 publish information, and to bring lawsuits in court, is so “clearly established” such
22 that a reasonable agent with the BATFE in Defendants’ situation would know it is
23 wrong to submit a false or misleading affidavit to a magistrate in applying for a
24 search warrant, execute a search and seizure without probable cause, and conduct
25 a search and seizure in an unreasonably destructive manner, all in retaliation
26 against Plaintiff for previously filing a lawsuit against the BATFE.
27          117. As a direct and proximate result of Defendants’ actions, Plaintiff has
28 suffered, and will continue to suffer, special and general damages to the extent and


     14-cv-00548-JLS-BGS         Second Amended Complaint                                38
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1838 Page 39 of 122



 1 in an amount subject to proof at trial. Plaintiff has also incurred, and will continue
 2 to incur, attorneys’ fees, costs and expenses, including those authorized by 42
 3 U.S.C. section 1988, to an extent and in an amount subject to proof at trial.
 4          118. On information and belief, Defendants, and each one of them, acted
 5 with malice and with the intent to cause injury to Plaintiff. Defendants, and each
 6 one of them, engaged in a willful conscious disregard for the probable
 7 consequences for injury of Plaintiff in a despicable, vile and contemptible manner.
 8 Plaintiff is entitled to an award of punitive damages for the purpose of punishing
 9 Defendants, and to deter them and others from such conduct in the future. (Smith
10 v. Wade (1983) 461 U.S. 30.)
11                                             III.
12         THIRD CLAIM FOR VIOLATION OF FOURTH AMENDMENT
13         (As Against UNKNOWN NAMED AGENT I, UNKNOWN NAMED
14                TECHNOLOGIST, EARL GRIFFITH, and DOES I-X)
15                                [Damages, Attorneys Fees]
16          119. Plaintiff re-alleges, and incorporates herein as if set forth in full,
17 paragraphs 1 through 118 above.
18          120. Plaintiff had the right to be free from unreasonable search and seizure
19 under the Fourth Amendment of the Constitution of the United States. This Fourth
20 Amendment right is “clearly established” such that a reasonable agent with the
21 BATFE in Defendants’ situation would know it is wrong to submit a false or
22 misleading affidavit to a magistrate in applying for a search warrant, execute a
23 search and seizure without probable cause, and conduct a search and seizure in an
24 unreasonably destructive manner. Franks v. Delaware, 438 U.S. 154; 98 S. Ct.
25 2674; 57 L. Ed. 2d 667 (1978). Defendants through the use of willful omissions,
26 falsehoods, prevarications, lies, reckless misstatement, convinced a Magistrate
27 judge to issue a warrant on:
28          “. . . probable cause to believe that Title 18 United States Code,


     14-cv-00548-JLS-BGS          Second Amended Complaint                                39
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1839 Page 40 of 122



 1          Sections 922 (a) (l)(A), 922 (t), and 371 have been violated, and that
 2          the property, evidence, fruits and instrumentalities of these offenses,
 3          more fully described in Attachment B of this Affidavit, are located at
 4          the [Plaintiff’s locations].”
 5 (Exhibit E, p. 22.) In fact, there was no probable cause for the warrant as:
 6          a.     Title 18 USC 922(a)(1)(A) provides that it
 7          “It shall be unlawful for any person except a licensed importer,
            licensed manufacturer, or licensed dealer, to engage in the business of
 8          importing, manufacturing, or dealing in firearms, or in the course of
            such business to ship, transport, or receive any firearm in interstate or
 9          foreign commerce”.
            [Internal divisions omitted.]
10
                   i.      Defendants knew that no crime was being committed because
11
                           the subject EP Arms unfinished lower receivers are not
12
                           firearms, thus there is no prohibition in dealing, shipping,
13
                           receiving or transporting such items.
14
            b.     Title 18 USC 922(t) requires that some transfers of firearms are
15
                   preceded by a background check of the transferee.
16
                   i.      Defendants knew that the section 922(t) referenced as
17
                           substantiating a finding of probable cause for a search lacked
18
                           an essential element because the subject EP Arms unfinished
19
                           lower receivers are not firearms, thus there is no requirement of
20
                           a background check.
21
            c.     Title 18 USC 371 in pertinent part provides:
22
            “If two or more persons conspire either to commit any offense against
23          the United States, or to defraud the United States, or any agency
            thereof in any manner or for any purpose, and one or more of such
24          persons do any act to effect the object of the conspiracy, each shall be
            fined under this title or imprisoned not more than five years, or both.”
25
                                               ***
26
                   i.      Defendants knew that the “conspiracy” referenced as
27
                           substantiating a finding of probable cause for a search lacked
28
                           an essential element because the subject EP Arms unfinished

     14-cv-00548-JLS-BGS           Second Amended Complaint                                 40
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1840 Page 41 of 122



 1                         lower receivers are not firearms.
 2          121. Defendants UNKNOWN NAMED TECHNOLOGIST and EARL
 3 GRIFFITH were aware that their false statements communicated to the other
 4 defendants would be used to deceive a Magistrate Judge and wrongfully obtain a
 5 search warrant.
 6          122. Plaintiff is informed and believes that Defendants, acting under the
 7 color of authority, knowingly and intentionally submitted the Affidavit that lacked
 8 probable cause of criminal activity. Defendants intentionally mislead Magistrate
 9 Judge Skomol as the Affidavit states that the “investigation deals with the
10 manufacturing of AR-15 variant lower receivers that are designed of kevlar
11 reinforced polymer.” [Affidavit, ¶ 18.] These variant lower receivers are also
12 known as “‘blank’, ‘an 80%,’ ‘an 80% blank,’ ‘an 80% lower,’ ‘casting’ or ‘an
13 AR-15 80%.’” [Id., ¶ 15.] These items are unregulated by BATFE. [Id.] In other
14 words, variant lower receivers or 80% unfinished lower receivers are legal, may be
15 lawfully possessed by anyone, and are not subject to the licensing and registration
16 requirements of “firearms.” Defendants concede: “Because ‘80%’ completed
17 lower receivers are partially completed, they are not regulated as firearms, but are
18 considered inert hunks of metal. There is no prohibition for anyone to possess an
19 80% lower receiver or a firearm parts kit containing an 80% lower receiver.” [Id.,
20 ¶ 45.] Consequently, the Defendants understood that Plaintiff and its customers
21 were engaged in admittedly lawful activity, absent of the requisite probable cause
22 for the issuance of a search warrant, yet they made other wrongful statements in
23 order to obtain the issuance of warrants.
24          123. Plaintiff is informed and believes that the issuance of the search
25 warrant was not justified due to false statements or statements made with disregard
26 of the truth contained within the Affidavit to secure such warrant. Specifically,
27          a.     Defendants falsely represented to Magistrate Skomol that the EP
28                 Arms unfinished lower receivers were a “firearm”. [Exhibit E, p. 9, ¶


     14-cv-00548-JLS-BGS           Second Amended Complaint                             41
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1841 Page 42 of 122



 1                 20.]
 2          b.     Defendants falsely cited 18 U.S.C. §921(a)(4) when they modified the
 3                 more stringent federal statute concerning rockets, bombs, and
 4                 grenades to generally apply to all “firearms.” Despite citing the law
 5                 concerning “destructive devices” as the basis for probable cause, the
 6                 Defendants did not make any allegation that LYCURGAN was in any
 7                 way dealing “destructive devices.” The phrase “destructive device” is
 8                 entirely absent from the affidavit. Instead, Defendants cleverly
 9                 changed the federal statute to paint an ex post facto target on
10                 LYCURGAN’s lawful activities.[Exhibit E, p. 3, ¶ 9.].
11          c.     After misrepresenting that the EP Arms unfinished lower receivers
12                 comprise a “firearm”, Defendants asserted that the unfinished lower
13                 receivers lacked a serial number but failed to disclose that the
14                 unfinished state did not compel the serialization of the item. [Exhibit
15                 E, p. 9, ¶ 20.] Even if the unfinished lower receiver were finished by
16                 Plaintiff’s customers, there is no requirement that the resulting
17                 finished firearm be serialized by the person who completed it.
18          d.     Defendants falsely or recklessly misrepresented the manufacturing
19                 process of LYCURGAN’s 80% unfinished lower receivers. [Exhibit
20                 E, Affidavit, ¶¶ 18-19.]
21                 i.      Defendants misconstrued the temporal property of the
22                         manufacturing process. Defendants stated that the Firearms and
23                         Technology Branch:
24                                “determined that the material that comprises the main
                                 body of the variant lower receiver is formed at a different
25                               time in the manufacturing process than that which
                                 comprises the plug.”
26                               [Exhibit E, Affidavit, ¶¶ 19.]
27                         However, the referenced determination actually stated:
28                               “It is our determination that when the fire-control cavity
                                 was formed during the manufacturing process, the

     14-cv-00548-JLS-BGS          Second Amended Complaint                                 42
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1842 Page 43 of 122



 1                                  submitted casting reached a point in its manufacture to
                                    be classified as a ‘firearm’ ... filling of the cavity at a
 2                                  later point does not change our classification”
                                    [Exhibit B, p.2].
 3
                   ii.     Defendants misconstrued the result of the manufacturing
 4
                           process, which in reality produces a single material that is
 5
                           inseparable without cutting into the material. Instead of telling
 6
                           the truth, Defendants stated that:
 7
                                    “As a result of the two plastics being poured at two
 8                                  different times, the receiver and plug being are formed in
                                    such a way that they are not adhered to each other.”
 9                                  [Exhibit E, Affidavit, ¶¶ 19.]
10                         This statement was not only untrue but completely lacking in
11                         reasonable basis. No such determination was made. [see
12                         Exhibit B]. The plug and receiver are fully adhered to each
13                         other.
14                 iii.    Defendants misconstrued the end use properties of the subject
15                         unfinished receivers after the manufacturing process was
16                         complete. Defendants stated that:
17                                  “As such, the plug can be removed and the firearm can
                                    readily be placed into a firing condition.”
18                                  [Exhibit E, Affidavit, ¶¶ 19.]
19                         This statement is completely untrue. Defendants'
20                         misrepresentations of the manufacturing process and product
21                         properties were "knowingly and intentionally" made. The
22                         BATFE was previously informed of its misunderstanding of the
23                         manufacturing process on or about March 4, 2014 within the
24                         letter of Jason Davis at Exhibit C. UNKNOWN NAMED
25                         AGENT I failed to disclose the existence of the letter at Exhibit
26                         C, or the information contained therein. [Exhibit E, p. 9, ¶ 23.]
27          124. These false statements and misrepresentations were material to the
28 Magistrate’s finding of probable cause. Excluding the alleged misrepresentations


     14-cv-00548-JLS-BGS             Second Amended Complaint                                     43
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1843 Page 44 of 122



 1 in the Affidavit, the search warrant would not have been issued.
 2          125. Plaintiff is informed and believes that the issuance of the search
 3 warrant was not justified due to knowing and intentional omissions of material
 4 facts in the Affidavit used to secure the Warrant. Specifically, Defendants omitted
 5 the fact that the BATFE previously examined a sample of an 80% unfinished
 6 lower receiver, which is virtually identical to the unfinished polymer parts at issue
 7 in the Affidavit, and the BATFE determined it “is not sufficiently complete to be
 8 classified as the frame or receiver of a firearm and thus would not be a ‘firearm’ as
 9 defined in the GCA.” A true and correct copy of the BATFE letter, dated July 15,
10 2013, is attached hereto as Exhibit “E.” A true and correct copy of the BATFE
11 letter, dated May 17, 2013, is attached hereto as Exhibit “F.” Including the
12 wrongfully omitted information in the Affidavit, the Warrant would not have been
13 issued.
14          126. Defendants, acting under the color of authority, caused Plaintiff
15 damages through the execution of an unreasonable search and seizure in violation
16 of the Fourth Amendment. Defendants’ conduct was without proper justification
17 or authority, without probable cause, consent or exigency. The search and seizure
18 was premised on an affidavit that lacked probable cause, and contained knowing
19 and intentional false statements, misrepresentations and omissions. Furthermore,
20 the UNKNOWN NAMED AGENTs II through VII executed the search and
21 seizure in an unreasonably destructive manner as a result of the events that
22 UNKNOWN NAMED AGENT I and DOES I-X put into motion. Defendants are
23 liable for damages for violating Plaintiff’s Fourth Amendment right to be free
24 from unreasonable searches and seizures.
25          127. UNKNOWN NAMED AGENT I made the following statements, that
26 without limitation to additional mistatements to be identified, were false,
27 misleading or omitted facts:
28          a.     UNKNOWN NAMED AGENT I testified to Magistrate Skomol that


     14-cv-00548-JLS-BGS         Second Amended Complaint                             44
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1844 Page 45 of 122



 1                 Plaintiff was selling “firearms” that lacked a serial number, and
 2                 manufacturer identification. As set forth and explained above, that
 3                 statement is false
 4          b.     UNKNOWN NAMED AGENT I made no disclosure to Magistrate
 5                 Skomol of the fact of the then-pendency of a hearing on Plaintiff’s
 6                 preliminary injunction.
 7          c.     UNKNOWN NAMED AGENT I made no disclosure of the issuance
 8                 of prior determination letters issued by the BATFE both before and
 9                 after the raid reflecting that substantially identical products, although
10                 lacking the EP Arms indexing marks and the differing colored
11                 material, had been deemed legal.
12          d.     UNKNOWN NAMED AGENT I falsely suggested that the EP Arms
13                 unfinished receivers could be readily assembled into a firearm, rather
14                 than milled or fabricated into a frame or receiver. Such distinction is
15                 significant the law does not classify an item that can be readily
16                 converted to a frame or a receiver as a “firearm.”
17          e.     UNKNOWN NAMED AGENT I falsely construed the BATFE’s
18                 previous holdings relevant to the subject unfinished receivers in the
19                 Affidavit. He stated:
20                         “ATF has consistently held that the indexing of the
                           fire-control-cavity of the AR-type receiver (or any of the
21                         mounting pin holes for the fire-control-components) is the
                           same as if it were formed ...”
22
                   [Exhibit E, Affidavit, ¶¶ 19.]
23
                   However, UNKNOWN NAMED AGENT I failed to disclose that
24
                   while making the determination specifically concerning the EP Arms
25
                   unfinished receivers, the BATFE determination clearly stated that,
26
                           “ATF has long held that any machining of the fire-control
27                         cavity is the legally significant step in making a receiver.”
                           [Exhibit B, p.2]
28
                   These two separate statements are irreconcilable. In the first breath,

     14-cv-00548-JLS-BGS           Second Amended Complaint                                 45
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1845 Page 46 of 122



 1                 the Defendants told the public that the “legally significant step” is
 2                 “any machining.” Then about one month later, UNKNOWN NAMED
 3                 AGENT I, in secret and sealed documents, told a Magistrate Judge
 4                 that he wanted to raid the public because marking, or “indexing,” has,
 5                 according to Unkown Named Agent I, has been consistently held by
 6                 the BATFE as the legally significant step.
 7          f.     UNKNOWN NAMED AGENT I falsely cited 18 U.S.C. §921(a)(4)
 8                 as,
 9                         “ ‘any combination of parts either designed or intended’ from
                           which a firearm can be ‘readily assembled.’ 18
10                         U.S.C.§92l(a)(4)(C).” [Exhibit E, P.3, ¶ 9.].
11                  The true reading of the referenced portion of 18 U.S.C.
12                 §921(a)(4)(C) is,
13                         “any combination of parts either designed or intended for use in
                           converting any device into any destructive device described in
14                         subparagraph (A) or (B) and from which a destructive device
                           may be readily assembled.”18 U.S.C. §921(a)(4)(C)
15                         [Emphasis added to portion intentionally omitted by
                           UNKNOWN NAMED AGENT I in his sworn Affidavit].
16
17                 18 U.S.C. §921(a)(4)(C) relates exclusively to “Destructive Devices.”
18                 The words “Destructive Device” do not appear any where in the
19                 Affidavit against LYCURGAN. [See Exhibit E]. “Destructive
20                 Devices” are not related to this case in any way whatsoever, nor was
21                 LYCURGAN even allegedly accused of any criminal activity relating
22                 to “Destructive Devices.” [id.] A Destructive Device relates to items
23                 such as missiles, grenades, bombs, rockets, mines and some weapons
24                 with a bore diameter greater than one and one half inches. [18 U.S.C.
25                 §921(a)(4)] Congress enacted more stringent statutory requirements
26                 for missiles, bombs, mines, and grenades than other more general
27                 types of “firearms.” UNKNOWN NAMED AGENT I, took 18 U.S.C.
28                 §921(a)(4)(C), and deceitfully changed the statutory construction in


     14-cv-00548-JLS-BGS          Second Amended Complaint                                 46
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1846 Page 47 of 122



 1                 order to subject all other types of “firearms” to the more stringent
 2                 requirements which Congress explicitly and exclusively applied only
 3                 to “Destructive Devices.” This new fictional construction of the
 4                 statute allowed UNKNOWN NAMED AGENT I to create an ex post
 5                 facto law. UNKNOWN NAMED AGENT I knew that LYCURGAN
 6                 was a lawful business. Under the true laws he would not have
 7                 obtained a warrant. He instead chose to usurp Congressional authority
 8                 and created his own law which would allow him to attack
 9                 LYCURGAN.
10          g.     UNKNOWN NAMED AGENT I falsely cited 18 U.S.C.§92l(a)(3)(A)
11                 as defining the “making of a firearm frame or receiver.” Specifically
12                 he stated:
13                         “... and thus, constitutes the making of a firearm frame or
                           receiver as defined by 18 U.S.C. §92l(a)(3)(A).”
14                         [Exhibit E, Affidavit, ¶¶ 19.]
15                 However, 18 U.S.C. §92l(a)(3)(A) does not define the “making of a
16                 firearm frame or receiver.” In fact, neither of the words “frame” or
17                 “receiver” even exist in 18 U.S.C. §92l(a)(3)(A). A “firearm” is
18                 defined separately in 18 U.S.C. §92l(a)(3)(C) as including “the frame
19                 or receiver of any such weapon.” However, unlike the representations
20                 made to Magistrate Skomal, “firearm frame or receiver” is not further
21                 defined by statute—instead, it is defined by regulation CFR 478.11
22                 which states:
23                         “Firearm frame or receiver. That part of a firearm which
                           provides housing for the hammer, bolt or breechblock, and
24                         firing mechanism, and which is usually threaded at its forward
                           portion to receive the barrel.”
25                         [CFR 478.11]
26                 UNKNOWN NAMED AGENT I—with full knowledge that the items
27                 in question did not meet the only relevant definition of a “[f]irearm
28                 frame or receiver”—intentionally omitted such important definition.


     14-cv-00548-JLS-BGS           Second Amended Complaint                                47
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1847 Page 48 of 122



 1                 The omitted definition was the product of agency notice-and-
 2                 comment rule making and so carries the full force and effect of law.
 3                 This case is entirely about allegations concerning “firearm frames;”
 4                 the fact that the only legally binding definition of “firearm frame” is
 5                 conspicuously absent from the affidavit demonstrates how far
 6                 UNKNOWN NAMED AGENT I was willing to go in order to
 7                 complete his deception and punish LYCURGAN.
 8          h.     UNKNOWN NAMED AGENT I failed to disclose to the Magistrate
 9                 that fabricating a firearm receiver from an unfinished receiver is
10                 lawful.
11          i.     UNKNOWN NAMED AGENT I failed to disclose that the EP Arms
12                 unfinished receivers and the biscuit were one bonded piece. Indeed,
13                 UNKNOWN NAMED AGENT I lied, stating: “[a]s a result of the
14                 two plastics being poured at two different times, the receiver and plug
15                 being are formed in such a way that they are not adhered to each
16                 other. As such, the plug can be removed and the firearm can readily
17                 be placed into firing condition.” [SIC] This statement is an utter
18                 falsehood.
19          j.     UNKNOWN NAMED AGENT I failed to disclose that indexing
20                 marks do not make a firearm. See, e.g., United States v. Prince, supra,
21                 2009 U.S. Dist. LEXIS 54116.
22          k.     UNKNOWN NAMED AGENT I failed to disclose that Dimitri
23                 Karras offered the BATFE a key and access to security cameras
24                 pending the disposition of the preliminary injunction hearing.
25          l.     UNKNOWN NAMED AGENT I failed to disclose that there is no
26                 requirement that “home-built” firearms bear a serial number, or that it
27                 is even legal for individuals not otherwise disqualified to fabricate
28                 their own non-NFA firearms. Instead, Unkown Named Agent I lied


     14-cv-00548-JLS-BGS         Second Amended Complaint                                  48
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1848 Page 49 of 122



 1                 when he stated, “Federal law also requires that both intact guns and
 2                 all completed lower receivers must be "Conspicuously engraved, cast
 3                 or stamped" with a serial number to a depth of no less than .003" and
 4                 a font size not less than 1/16 of an inch.” a statement Defendants
 5                 knew to be false.
 6          128. Defendants falsehoods, misleading statements, and factual omissions,
 7 were material to the finding of probable cause.
 8          129. Defendants misrepresentations or omissions were made intentionally
 9 or with reckless disregard for the truth. The fact that the affidavit did not report
10 important factual information that was within the Defendants’ knowledge at the
11 time allows a reasonable fact-finder to conclude that the Defendants acted with at
12 least reckless disregard for the truth.
13          130. Defendants were aware of their obligations avoid engaging in the
14 deception of judicial officers in order to obtain warrants as that conduct could
15 result in personal liability. Such law was well-established years prior to March of
16 2014 in Chism v. Washington, 661 F.3d 380 (9th Cir. 2011).
17          131. As a direct and proximate result of Defendants’ actions, Plaintiff has
18 suffered, and will continue to suffer, special and general damages to the extent and
19 in an amount subject to proof at trial. Plaintiff has also incurred, and will continue
20 to incur, attorneys’ fees, costs and expenses to an extent and in an amount subject
21 to proof at trial.
22          132. On information and belief, Defendants, and each one of them, acted
23 with malice and with the intent to cause injury to Plaintiff. Defendants, and each
24 one of them, engaged in a willful conscious disregard for the probable
25 consequences for injury of Plaintiff in a despicable, vile and contemptible manner.
26 Plaintiff is entitled to an award of punitive damages for the purpose of punishing
27 Defendants, and to deter them and others from such conduct in the future. (Smith
28 v. Wade (1983) 461 U.S. 30.)


     14-cv-00548-JLS-BGS         Second Amended Complaint                                 49
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1849 Page 50 of 122



 1                                              IV.
 2        FOURTH CLAIM FOR VIOLATION OF FOURTH AMENDMENT
 3                   (As Against UNKNOWN NAMED AGENTs II-VII)
 4                                [Damages, Attorneys Fees]
 5          133. Plaintiff re-alleges, and incorporates herein as if set forth in full,
 6 paragraphs 1 through 132 above.
 7          134. Defendants UNKNOWN NAMED AGENTs II-VII purloined
 8 Plaintiff’s “Rudius” unfinished pistol frames, plastic bins, and other property from
 9 the National City location. Those defendants failed to identify such items on any
10 inventory submitted to the Court following the raid. Defendants UNKNOWN
11 NAMED AGENTs II-VII lacked probable cause to seize such non-inventoried
12 items.
13          135. Defendants vandalized and intentionally damaged the premises at
14 National City thereby conducting an unreasonable search and seizure.
15          136. Defendants engaged in tomfoolery in the premises at National City as
16 an outward manifestation of their collective animus for Plaintiff’s exercise of its
17 other rights under the First Amendment and Second Amendment as set forth
18 above, thereby conducting an unreasonable search and seizure.
19          137. John R. Spencer, Chief of the Firearms Technology Branch previously
20 issued a determination letter finding that the Rudius unfinished pistol frames are
21 not “firearms” as defined in 921(a)(3) as determined in 18 USC § 921(a)(3).
22          138. Defendants UNKNOWN NAMED AGENTs II-VII seized the Rudius
23 unfinished pistol frames and plastic bins without a warrant.
24          139. Plaintiff had the right to be free from unreasonable search and seizure
25 under the Fourth Amendment of the Constitution of the United States. This Fourth
26 Amendment right is “clearly established” such that a reasonable agent with the
27 BATFE in Defendants’ situation would know it is wrong to remove such items,
28 vandalize the premises, and otherwise engage in tomfoolery.


     14-cv-00548-JLS-BGS          Second Amended Complaint                                50
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1850 Page 51 of 122



 1          140. As a direct and proximate result of Defendants’ actions, Plaintiff has
 2 suffered special and general damages to the extent and in an amount subject to
 3 proof at trial. Plaintiff has also incurred, and will continue to incur, attorneys’
 4 fees, costs and expenses to an extent and in an amount subject to proof at trial.
 5          141. On information and belief, Defendants, and each one of them, acted
 6 with malice and with the intent to cause injury to Plaintiff. Defendants, and each
 7 one of them, engaged in a willful conscious disregard for the probable
 8 consequences for injury of Plaintiff in a despicable, vile and contemptible manner.
 9 Plaintiff is entitled to an award of punitive damages for the purpose of punishing
10 Defendants, and to deter them and others from such conduct in the future. (Smith
11 v. Wade (1983) 461 U.S. 30.)
12                                              V.
13        FIFTH CLAIM FOR VIOLATION OF THE FIFTH AMENDMENT
14                                  IMPROPER TAKING
15             (As against UNKNOWN NAMED AGENT I and DOES I-X)
16                                [Damages, Attorneys Fees]
17          142. Plaintiff re-alleges, and incorporates herein as if set forth in full,
18 paragraphs 1 through 141 above.
19          143. Plaintiff had the right under the Fifth Amendment of the Constitution
20 of the United States to not be deprived of its property without due process of law.
21 This Fifth Amendment right is “clearly established” such that a reasonable agent
22 with the BATFE in Defendants’ situation would know it is wrong to submit a false
23 or misleading affidavit to a magistrate in applying for a search warrant, execute a
24 search and seizure without probable cause, and conduct a search and seizure in an
25 unreasonably destructive manner, in order to seize and detain lawfully owned
26 property.
27          144. Plaintiff’s customer list is recognized as “property” under California
28 law. Defendant UNKNOWN NAMED AGENT I took that property. Plaintiff has


     14-cv-00548-JLS-BGS          Second Amended Complaint                                51
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1851 Page 52 of 122



 1 made significant efforts to keep its customer list secret and private.
 2          145. Plaintiff maintained a liberty interest and a property interest in the
 3 public’s perception of Plaintiff’s nature as a law abiding business. The conduct of
 4 Defendants UNKNOWN NAMED AGENT I and DOES I-X identified
 5 LYCURGAN as a violator of the laws, resulting in a stigma.
 6          146. Customers that formerly did business with Plaintiff are aware that the
 7 Government, and worse – the BATFE – have their name. Plaintiff’s customers are
 8 now on the “BATFE list.” Plaintiff has suffered stigma from that occurrence.
 9          147. Plaintiff has suffered damages as a result of that stigmatization,
10 resulting in additional difficulty in obtaining sales, necessitating the discounting
11 of product and increased advertising.
12          148. Pursuant to Bivens v. Six Unknown Named Agents of Fed. Bureau of
13 Narcotics (1971) 403 U.S. 388, 389, a federal agent acting under color of his
14 authority gives rise to a cause of action for damages consequent upon his
15 unconstitutional conduct. Accordingly, Defendants are liable for damages for
16 violating Plaintiff’s Fifth Amendment right to not be deprived of life, liberty, or
17 property, without due process of law. (Davis v. Passman (1979) 422 U.S. 228.)
18          149. At no time did Plaintiff consent, constructively or otherwise, to such
19 deprivation and detention of Plaintiff’s lawful business inventory and confidential
20 customer list, nor was the search and seizure conducted with probable cause or
21 lawfully obtained.
22          150. As a direct and proximate result of Defendants’ actions, Plaintiff has
23 suffered, and will continue to suffer, special and general damages to the extent and
24 in an amount subject to proof at trial. Plaintiff has also incurred, and will continue
25 to incur, attorneys’ fees, costs and expenses, to an extent and in an amount subject
26 to proof at trial.
27          151. On information and belief, Defendants, and each one of them, acted
28 with malice and with the intent to cause injury to Plaintiff. Defendants, and each


     14-cv-00548-JLS-BGS         Second Amended Complaint                                 52
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1852 Page 53 of 122



 1 one of them, engaged in a willful conscious disregard for the probable
 2 consequences for injury of Plaintiff in a despicable, vile and contemptible manner.
 3 Plaintiff is entitled to an award of punitive damages for the purpose of punishing
 4 Defendants, and to deter them and others from such conduct in the future. (Smith
 5 v. Wade (1983) 461 U.S. 30.)
 6
 7                                         PRAYER
 8          WHEREFORE, Plaintiff Lycurgan Inc. prays for judgment against
 9 Defendant as follows:
10          1.     General damages and special damages according to proof;
11          2.     Punitive damages as allowed by law;
12          3.     Special damages, including loss profits and diminished earning
13                 capacity;
14          4.     Attorneys fees pursuant to 42 U.S.C. § 1988, and any other
15                 appropriate statute;
16          5.     Costs of suit incurred herein; and
17          6.     Such further relief as the Court deems just and proper.
18                                                 Respectfully submitted,
19                                                 The McMillan Law Firm, APC
20          Dated: August 5, 2016                  /s/ Scott A. McMillan
21                                                 ___________________________
22                                                 Scott A. McMillan
                                                   Attorneys for Lycurgan, Inc.
23                                                 Plaintiff
24
25
26
27
28


     14-cv-00548-JLS-BGS         Second Amended Complaint                           53
 Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1853 Page 54 of 122



 1                             DEMAND FOR JURY TRIAL
 2          Plaintiff Lycurgan, Inc., demands a jury trial on all matters so determinable.
 3                                                 Respectfully submitted,
 4                                                 The McMillan Law Firm, APC
 5          Dated: August 5, 2016
 6                                                 /s/ Scott A. McMillan
                                                   ___________________________
 7
                                                   Scott A. McMillan
 8                                                 Attorneys for Lycurgan, Inc.
                                                   Plaintiff
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     14-cv-00548-JLS-BGS         Second Amended Complaint                               54
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1854 Page 55 of 122




                      Exhibit ‘A’
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1855 Page 56 of 122




                                                                The Law Offices of
                                                     DAVIS & ASSOCIATES
                                               2720! Puerta Real, Suite 300, Mission Viejo, CA 92691
                                        Direct (949) 310-081 7/Fax (949) 288-6894 Jason’iCaIGtinLavvers.coiu
                                                              www.CalGunLawycrs.com




    July 20, 2013

     Earl Griffith
     Bureau of Alcohol. Tobacco, Firearms, and Explosives
     Firearms Technology Branch
     244 Needy Road
     Martinsburg, West Virginia 25405 USA
     VIA FED-EX


    Re:        In re: EP ARMS. LLC

    Dear Mr. Griffith:

    I write regarding my client, EP ARMS, LLC (EPA) and their intent to manufacture a partial
    lower receiver. Specifically, we are asking for clarification as to whether the incomplete AR-
    type lower that my client intends to manufticture is a “firearm” as defined in 18 (J.S.C.
    §921 (a)(3) or a merely a casting.

    We have enclosed an exemplar EPA AR-IS type casting for your review and examination. The
    following features are included on the AR-IS casting:

          •   Magazine well;
          •   Magazine catch;
          •   Receiver extension/buffer tube;
          •   Pistol-grip area;
          •   Pistol-grip screw hole;
          •   Pistol-grip upper receiver tension hole;
          •   Pistol-grip tension screv hole;
          •   Bolt catch;
          •   Front pivot-pin takedown hole;
          •   Rear-pivot pin takedown hole.

    We believe that these features molded into the raw casting do not render the casting a firearm for
    the reasons detailed below. But, in an abundance of caution, we request clarification from the
    Bureau of Alcohol, Tobacco. Firearms, and Explosives Firearms Technology Branch.
                                                                  —
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1856 Page 57 of 122


    The Law Offices of
    DAVIS & ASSOCIATES

    Re:    In re: EP ARMS, LLC
    July 20,2013
    Page 2




                                         DEFINITION OF FIREARM

    Title I of the Gun Control Act, 18 U.S.C. § 921 et seq., primarily regulates conventional
    firearms (i.e., rifles, pistols, and shotguns). Title II of the Gun Control Act, also known as the
    National Firearms Act, 26 U.S.C. § 5801 et seq., stringently regulates machine guns, short
    barreled shotguns, and other narrow classes of firearms. “Firearm” is defined in § 921 (a)(3) as:

            (B) Any weapon (including a starter gun) which will or is designed to or may readily be
            converted expel a projectile by the action of an explosive; (B) the frame or receiver of
            any such weapon; (C) any firearm muffler or firearm silencer; or (D) any destructive
            device. Such term does not include an antique firearm.

    As noted, the term “firearm” means a “weapon. which will or is designed to or may readily be
                                                      .   .


    converted to expel a projectile,” and also “theframe or receiver of any such weapon.” (18
    U.S.C. §921 (a)(3).) Both the “designed” definition and the “may readily be converted”
    definition apply to a weapon that expels a projectile, not to a frame or receiver. A frame or
    receiver is not a “weapon,” will not and is not designed to expel a projectile, and may not readily
    be converted to expel a projectile.

    The issue therefore becomes whether the raw material “casting,” with the specified features, may
    constitute a “frame or receiver.”

    ATF’s regulatory definition, 27 C.F.R. §478.11, provides: “Firearm frame or receiver. That part
    of a firearm which provides housing for the hammer, bolt or breechblock, and firing mechanism,
    and which is usually threaded at its forward portion to receive the barrel. (The same definition
    appears in 27 C.F.R. §479.11.) “Breechblock” is defined as the locking and cartridge head
    supporting mechanism of a firearm that does not operate in line with the axis of the bore.”
    (Glossary ofthe Association ofFirearms and Toolmark Examiners (2” Ed. 1985, 21).)

    Assuming that a lower receiver is deemed a “frame or receiver” for licensing purposes, the
    statute refers to “the frame or receiver of any such weapon,” not raw material which would
    require further milling, drilling, and other fabrication to be usable as a frame or receiver.
    Referring to ATF’s definition in §478.11, an unfinished piece of metal is not a “part” that
    “provides housing” (in the present tense) for the hammer, bolt, or breechblock, and other
    components of the firing mechanism, unless and until it is machined to accept these components.
    The definition does not include raw materials that “would provide housing” for such components
         if further machined.” Nor may it be said that such piece of metal “is. threaded at its
                                                                                 .   .


    forward portion” so that a barrel may be installed.
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1857 Page 58 of 122


    The Law Offices of
    DAVIS & ASSOCIATES

    Re:     In re: EP ARMS, LLC
    July 20, 2013
    Page 3



    In ordinary nomenclature, the frame or receiver is a finished part which is capable of being
    assembled with other parts to put together a firearm.” (Receiver. The basic unit of a firearm
    which houses the firing and breech mechanism and to which the barrel and stock are assembled.
    Glossary ofthe Association ofFirearm and Toolmark Examiners (2w’ ed. 1985), 111.) Raw
    material requires further fabrication. The Gun Control Act recognizes the distinction between
    “Assembly and “fabrication.” (Compare 18 U.S.C. §921(a)(29) (defining “handgun” in part as
    “any combination of parts from which a firearm described in subparagraph (A) can be
    assembled”) with §921 (a)(24) (referring to “any combination of parts, designed or redesigned,
    and intended for use in assembling orfabricating a firearm silencer or firearm muffler”
    (emphasis added.).) The term “assemble” means “to fit or join together (the parts of something,
    such as a machine): to assemble the parts of a kit.” (Assemble. Dictionary.com. Collins English
    Dictionary Complete & Unabridged 10th Edition. HarperCollins Publishers.
                 -



    http://dictionary.reference.com/browse/assemble (accessed: January 23, 2013).) The term
    “fabricate” is broader, as it also synonymous with manufacture: “to make, build, or construct.”
    (Fabricate. Dictionary.com. Collins English Dictionary Complete & Unabridged 10th Edition.
                                                             -



    HarperCollins Publishers. http://dictionary.reference.com/ browse/fabricate (accessed: January
    23,2013).) Thus, drilling, milling, and other machining would constitute fabrication, but
    assembly more narrowly means putting together parts already fabricated.

    Moreover, “Congress did not distinguish between receivers integrated into an operable weapon
    and receivers sitting in a box, awaiting installation.” (F.J. Vollmer Co., Inc. v. Higgins, 23 F.3d
    448, 450 (D.C. Cir. I 994)(Emphasis added.) The absence of a single hole and the presence of a
    piece of extra metal may mean that an item is not a frame or receiver.” (Id. at 452 (“In the case
    of the modified HK receiver, the critical features were the lack of the attachment block and the
    presence of a hole”; “welding the attachment block back onto the magazine and fiLling the hole it
    had drilled” removed the item from being a machinegun receiver.).)

                                 ANALOGOUS DETERMINATIONS

    In an analogous situation, ATF has defined a receiver in terms of whether it was “capable of
    accepting all parts” necessary for firing. Like the term “firearm,” the term “machinegun” is also
    defined to include the “frame or receiver of any such weapon.” (26 U.S.C. §5845(b). The same
    definition is incorporated by reference in 18 U.S.C. §921(a)(3).) The Chief of the ATF Firearms
    Technology Branch wrote in 1978 concerning a semiautomatic receiver which was milled out to
    accept a full automatic sear, but the automatic sear hole was not drilled. He opined: “in such a
    condition, the receiver is not capable of accepting all parts normally necessary for full automatic
    fire. Therefore, such a receiver is not a machinegun... As soon as the receiver is capable of
                                                                 .



    accepting all parts necessary for full automatic fire, it would be subject to all the provisions of
    the NFA.” (Nick Voinovich, Chief, ATF Firearms Technology Branch, Feb. 13, 1978,
    T:T:F:CHB, 7540. Similar opinions were rendered by the Chief, ATF Firearms Technology
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1858 Page 59 of 122



    The Law Offices of
    DAVIS & ASSOCIATES

    Re:     In re: EP ARMS. LLC
    July 20, 2013
    Page 4



    Branch, Aug. 3 1977 (reference number deLeted); and C. Michael Hoffman, Assistant Director
    (Technical and Scientific Services), May 5, 1978, T:T:F:CHB, 1549’?).)

    That being said, the ATF has taken differing opinions as to what extent raw material must be
    machined in order to be deemed a firearm.

    In a 2002 determination, ATF stated the following about an unfinished lower receiver for an AR
    15 that “by performing minor work with hand tools, this receiver can be assembled into a
    complete rifle.” (Curtis H.A. Bartlett, Chief, Firearms Technology Branch, Oct. 22, 2002,
    903050:RV.) The letter continues:

           The minor work includes:
           1. Drilling the holes for the takedown/assembly pins;
           2. Drilling the holes for the trigger and hammer pins;
           3. Drilling the holes for the magazine catch; and
           4. Drill and tap the holes for the pistol grip screw.
              Our evaluation reveals that the submitted receiver can be readily converted to expel a
              projectile by the action of an explosive,” and is, therefore, a firearm.

    The above assumes that the “can be readily converted” clause refers to a frame or receiver, when
    actually that clause refers to a weapon that can be so converted. A frame or receiver cannot, by
    itself, be converted to a weapon that expels a projectile. That would require the presence of all
    the other firearm parts, and even then the above machine work would be required, together with
    assembly.

    By contrast, and more recently, ATF determined the following “unfinished ARI 5 lower” not to
    be sufficiently machined to constitute a frame or receiver:

           The FTB examination of your submission confirmed that machining operations have
           been performed for the following:

           •   Magazine well;
           •   Magazine catch;
           •   Receiver extension I buffer tube;
           •   Pistol grip;
           •   Bolt catch;
           •   Trigger guard;
           •   Pivot pin and take down holes (drilled).
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1859 Page 60 of 122



    The Law Offices of
    DAVIS & ASSOCIATES

    Re:    In re: EP ARMS, LLC
    July 20,2013
    Page 5



             The FTB examination found that this item, in its current condition, has not reached a
             point in manufacturing to be classified as a “firearm” per the GCA definition, Section
             921 (a)(3).

    (John R. Spencer, Chief, Firearms Technology Branch, November 19, 2012, 903050:MRC
    3311/2012-1034.) (See also: 903050:AG 3311/2011-703; 903050:KB 3311/300863;
    903050:KB33 11/300862)

    It is important to note that each side of the submitted casting includes three extrusions. As you
    are aware, these extrusions do not exist on completed AR-iS type lowers. They have been added
    to the component and must be removed prior to installation of any parts or components. While
    these extrusions do contain slight depressions, these depressions are not of sufficient depth to
    cross the plane of the either side of the completely machined lower receiver.

    It is clear that the EPA casting does not provide housing for the “hammer, bolt or breechblock,
    and firing mechanism.” In this regard, the operations performed on the exemplar casting are
    more akin to the later examination than the former. As such, it is our belief that the exemplar
    casting does not constitute a “receiver” or a “firearm.” But, again, we request your clarification
    on this point.

    Thank you for taking the time to address this issue. We look forward to hearing from you.
    Please let us know if you have any further questions or concerns.


    Sincerely,

    DAVIS & ASSOCIATES

    5/ J744eeVaui4

    JASON DAVIS
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1860 Page 61 of 122




                       Exhibit ‘B’
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1861 Page 62 of 122
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1862 Page 63 of 122
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1863 Page 64 of 122
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1864 Page 65 of 122




                      Exhibit ‘C’
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1865 Page 66 of 122




                                                             The Law Offices of
                                                  DAVIS & ASSOCIATES
                                             27201 Puerta Real, Suite 300, Mission \‘iejo, CA 92691
                                      Direct (949) 3 10-081 7/Fax (949) 288-6894 Jason@CalGunLawycrs.com
                                                           www.CalGunI awyers.com




    March 4.2014

     Earl GrifThh
     Bureau o IA Icohol, Tobacco. Firearms, and Explosives
     Firearms Technology B ranch
     244 Needy Road
     Martinsburg, West Virginia 25405 USA
     VIA FED-EX


    Re:      In re: EP ARMS, LLC

    Dear Mr. Gri filth:

    I write regarding my client. EP ARMS, LLC (EPA). Specifically, we write to request
    reconsideration of your conclusion that the product sample submitted is a “firearm” in the
    response to your letter dated, February 7, 2014, which was based on a fundamental
    iii isunderstand ing of the manu lcturing process. (Enclosed.)


    Specifically, your letter was a response to our letter dated July 30, 2013 (enclosed), which
    requested clarification as to whether a product submitted is a firearm. In your letter you stated
    that:

                   It is our determination that when the/Ire—control cavity was ,formed
                   during the manu/acturmg process, the submitting casting reached a
                   point in its manufacturer to be classified as a “firearm” as a defined
                   in 18 U.S.C. 92l(a)(3).
                                                     ***

                   Further, the filling of the cavity at a later point does not change our
                   classification. Although the/Ire-control cavity was/il/ed vu/i
                   plastic material that must be removed before/Ire control
                   components may be installed, A1’F has long held that this is not
                   sufficient to destroy the receiver and remove the item from
                   classification as a “frame or receiver.”

    (Emphasis added.)

    As stated above, this response is based on a fundamental misunderstanding of the process by
    which the submitted sample is manufactured. Specifically, the letter is based on the assumption
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1866 Page 67 of 122


    The Law Offices of
    DAVIS & ASSOCIATES

    Re:    In re: EP ARMS, LLC
    March 4, 2014
    Page 2



    that the receiver is formed, and then it is filled with additional plastic. This is inaccurate. At no
    time is a fire-control cavity formed during the manufacturing process, nor is the fire-
    control cavity “filled” with plastic material. In fact, at no time does a fire-control cavity
    exist in the manufacturing process.

    The actual process of manufacturing the sample is the converse of your assumed method, and
    takes place in two stages:

    Stage 1:
    The manufacturing process starts with the production of a core, dubbed a “biscuit.” (Enclosed
    with this letter are two sample core “biscuits” for your examination and evaluation.) It is made
    of a material close to Nylon 66 and is the first part of the manufacturing process. Once the
    biscuit is manufactured it has a 2 day curing process before proceeding to Stage 2.

    Stage 2:
    After the curing has taken place with the biscuit it is placed inside the cavity of a secondary
    mold. The secondary mold bonds additional material to the biscuit and creates the overall shape
    of the product by means of mold injection. (The previousLy submitted sample still in your
    possession represents the result of Stage 2 production). Thus, at no time does a fire-control
    cavity exist.

    We believe that these features molded into the raw casting do not render the casting a firearm for
    the reasons detailed below. But, in an abundance of caution, we request clarification from the
    Bureau of Alcohol, Tobacco, Firearms, and Explosives Firearms Technology Branch.
                                                              —




    It is clear that the EPA casting does not provide housing for the “hammer, bolt or breechblock,
    and firing mechanism.” In this regard, the operations performed on the exemplar casting are
    more akin to the later examination than the former. As such, it is our belief that the exemplar
    casting does not constitute a “receiver” or a “firearm.” But, again, we request your clarification
    on this point.

    Thank you for taking the time to address this issue. We look forward to hearing from you.
    Please let us know if you have any further questions or concerns. When complete, please
    return the submitted parts via Fed-Ex using account number: 321690653.

    Sincerely,

    DAVIS & ASSOCIATES

    s/ 9oiDace

    JASON DAVIS
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1867 Page 68 of 122




                      Exhibit ‘D’
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1868 Page 69 of 122
        Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 22 of 44
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1869 Page 70 of 122
        Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 23 of 44
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1870 Page 71 of 122
        Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 24 of 44
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1871 Page 72 of 122
        Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 25 of 44
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1872 Page 73 of 122
        Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 26 of 44
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1873 Page 74 of 122
        Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 27 of 44
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1874 Page 75 of 122




                       Exhibit ‘E’
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1875
                                                  Filed 08/14/14 Page Page
                                                                      1 of 3076 of 122
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1876
                                                  Filed 08/14/14 Page Page
                                                                      2 of 3077 of 122
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1877
                                                  Filed 08/14/14 Page Page
                                                                      3 of 3078 of 122
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1878
                                                  Filed 08/14/14 Page Page
                                                                      4 of 3079 of 122
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1879
                                                  Filed 08/14/14 Page Page
                                                                      5 of 3080 of 122
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1880
                                                  Filed 08/14/14 Page Page
                                                                      6 of 3081 of 122
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1881
                                                  Filed 08/14/14 Page Page
                                                                      7 of 3082 of 122
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1882
                                                  Filed 08/14/14 Page Page
                                                                      8 of 3083 of 122
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1883
                                                  Filed 08/14/14 Page Page
                                                                      9 of 3084 of 122
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1884
                                                   Filed 08/14/14      Page
                                                                  Page 10     85 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1885
                                                   Filed 08/14/14      Page
                                                                  Page 11     86 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1886
                                                   Filed 08/14/14      Page
                                                                  Page 12     87 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1887
                                                   Filed 08/14/14      Page
                                                                  Page 13     88 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1888
                                                   Filed 08/14/14      Page
                                                                  Page 14     89 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1889
                                                   Filed 08/14/14      Page
                                                                  Page 15     90 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1890
                                                   Filed 08/14/14      Page
                                                                  Page 16     91 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1891
                                                   Filed 08/14/14      Page
                                                                  Page 17     92 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1892
                                                   Filed 08/14/14      Page
                                                                  Page 18     93 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1893
                                                   Filed 08/14/14      Page
                                                                  Page 19     94 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1894
                                                   Filed 08/14/14      Page
                                                                  Page 20     95 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1895
                                                   Filed 08/14/14      Page
                                                                  Page 21     96 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1896
                                                   Filed 08/14/14      Page
                                                                  Page 22     97 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1897
                                                   Filed 08/14/14      Page
                                                                  Page 23     98 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC   Document
       Case 3:14-cv-01424-JLS-BGS     109 Filed
                                   Document     08/05/16
                                             14-1          PageID.1898
                                                   Filed 08/14/14      Page
                                                                  Page 24     99 of 122
                                                                          of 30
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1899
                                                  Filed 08/14/14 Page Page  100 of 122
                                                                      25 of 30
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1900
                                                  Filed 08/14/14 Page Page  101 of 122
                                                                      26 of 30
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1901
                                                  Filed 08/14/14 Page Page  102 of 122
                                                                      27 of 30
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1902
                                                  Filed 08/14/14 Page Page  103 of 122
                                                                      28 of 30
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1903
                                                  Filed 08/14/14 Page Page  104 of 122
                                                                      29 of 30
Case 3:14-cv-00548-JLS-KSC  Document
       Case 3:14-cv-01424-JLS-BGS    109 Filed
                                  Document     08/05/16
                                            14-1         PageID.1904
                                                  Filed 08/14/14 Page Page  105 of 122
                                                                      30 of 30
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1905 Page 106 of 122




                       Exhibit ‘F’
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1906 Page 107 of 122
                                         u.s. 1Department
         Case 1:14-cv-01211-JAM-SAB Document              of Justice
                                                 Filed 07/31/14   Page 33 of 44
                                                       Bureau of Alcohol, Tobacco,
                                                       Firearms and Explosives



                                                                                           903050:ELG
                                                       Marti nsburg, West Virginia 25405
                                                                                           3311 /2010-469
                                                       www.atf.gov

                                                         MAR 1 6 201 G
   Mr. Jason Renschler
   Quentin Laser, LLC
   751 N. Monterey Street
   Gilbert, Arizona 85233

   Dear Mr. Renschler:

   This is in reference to your recently received correspondence and accompanying, partially
   machined, AR-15 pattern receiver forging that was submitted to the Bureau of Alcohol, Tobacco,
   Firearms and Explosives (A TF), Firearms Technology Branch (FTB), for classification with
   respect to the provisions of the amended Gun Control Act of 1968 (GCA).

   As you are aware, the GCA, 18 U.S.C. § 921 (a)(3), states that the term "firearm" includes-

          ... (A) any weapon (including a starter gun) which will or is designed to or may
          readily be converted to expel a projectile by the action of an explosive; (B) the
          frame or receiver of any such weapon. ..
   Based on this definition, a firearm receiver casting or firearm receiver blank can itself be a
   " firearm" if completed to the point at which it can be recognized as a firearm frame or receiver.

   Previously, FTB has detelmined that an AR-15 type receiver which has no machining of any
   kind performed in the area of the triggerihammer recess might not be classified as a firearm.
   Such a receiver could have all other machining operations performed, including pivot-pin,
   takedown-pin hole(s), and clearance for the takedown-pin lug, but must be completely solid and
   un-machi ned in the trigger/hammer recess area.

   Our examination revealed that the forging incorporates machining for the selector opening,
   which exceeds the allowable machining described above. Due to this operation, FTB finds that
   the submitted item is a "tirearm" as deiined in the GCA . In order to obtain a non-firearm
   classification, you must omit this machining operation (also see enclosed photo diagram) .
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1907 Page 108 of 122
         Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 34 of 44

                                                   -2-

    Mr. Jason Renschler


    We thank you for your inquiry and trust that the foregoing has been responsive.

                                            Sincerely yours,




                                             ohn R. Spencer
                                        , F earms Technology Branch

    Enclosure
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1908 Page 109 of 122
         Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 35 of 44

                                              -3-

     Mr. Jason Renschler


                                   Obtaining a "Non-Firearm"




                    2010-469-ELG
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1909 Page 110 of 122




                       Exhibit ‘G’
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1910 Page 111 of 122
         Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 40 of 44
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1911 Page 112 of 122
         Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 41 of 44
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1912 Page 113 of 122




                       Exhibit ‘H’
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1913 Page 114 of 122
         Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 37 of 44
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1914 Page 115 of 122
         Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 38 of 44
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1915 Page 116 of 122




                        Exhibit ‘I’
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1916 Page 117 of 122
         Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 29 of 44
                                                       U.S. Depu'mn l of JU Sli~f'

                                                       Bureau of Alcohol. Tobacco.
                                                       Fireanns and Explosives



                                                       _     ' .. .,. ISM»




                                                                                9(j30S0:MCP
                                                                                )311i30203,S

                                                     Mt.Y   I)   5 Z:lI

     Mr, Bradley Rf'C(:e
     Palmetlo SI~le Defense, llC
     5H East Suber Road
     Greer. SC 29650

     DcaJ Mr, Reece.

     This i5 in reference to )'Our correspondence to the Bureau of A ioobol. Tobacco, Fire:ums
     IU1d Expios;\'es (ATF'), Fireanns T ectmology Branch (fTB) ...... hich accompanied)'Our
     prototype $a/llple ofan AR- l0 type reeei\et' blank your company intends to manufacture
     and market. Specifically. you requested an examination and elassiJication of the
     submitted sample p\ll'5lWlt to the amended Gun Control Act of 1968 (GCA):and asked if
     it ..... ould be rq;ulated as a "firearm" under the GeA.

      A$ background, the GCA. 18      U.S.c. § 921{aKll. defines the term "firearm" to include
     /11'1)' wtGpon (;ndullmg lJ $lJrfcr gun) which ...'//1 or is designed 10 or may be readi~I'
     com"erled 10 ~Tpe! a projectile fly the ad/on 0/ all aplosive ... {lJndj ... lhe./rlJmf' or
     rec-eiwr ofany sl.d ..tGpotI .. ..

      NOll': FTR   user Ih .. /ollo"'/"g l"r"'5 10 desl,'nbe. certain Items (ubosee ellutiOil. p.J)-
      1111' lerffl "rue;,"n' blalrk " ~t use.IIO de.smbe/orgings. easti"gs. or machilled bodies
      (de/,mse. artlrl..t) such us AR·15 neeilrer ro:Jtillgt. AX rect!ilV!r flats. ell'.. In ",uio/4
      slagn of/oIdtnglmUl.'hi"ing .. lIiclt an "01 rlassified rDjinDl1nS.

      The lerm "IIICOmpleu rUf'/IY!!r " is used 10 liescribe/orgings. I'CUlmgs. or m(lchlll{:J
      lxNIiu (dejf!llSe anieles) ..·hiel. hQ\~ lwen dussifinl asjirf'Qrm:J bUI are flQ/ COINpletel)'
      mUl'ltlned for use rD a /u"t:/ion.al fi1'f!Qrm .-eceil'er.
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1917 Page 118 of 122
         Case 1:14-cv-01211-JAM-SAB    Document 1 Filed 07/31/14 Page 30 of
                          Mr. BrlIdky Retcc                                 44 2
                                                                         Page


     As you ~ awan'. FTB has prtviously determined tba! an AR-IO type recch'a blank
     whiC"h has no ma(:hining of any kind perfonned in the area oelhc triggerlbammcr (fire-
     conlrol) receu mighl 001 bo: clauilied as a fireann. 50th a recci\'er blank collld ba,c all
     other machming openitions performed. including pivol·pin and takedown-pin hole(s) and
     clearance for the lakedown-pin IIIB. but mus! bo: eomplCII:ly solid and WI-machined in !he
     flfC-COnlrol recess area. We have determined that in ordct-to be considered "completely
     solid and un-machiMd 10 the fire-conlrOl n'CC"SS area.~ Ihe tal;edo ...n-pin lug dcalllllCe
     area mUSI be no longer than 1.6 incl!cs, measured from inuncdillely for.... ard or the front
     orthe buffa-retainer hole.

     OUf e:lllminalion of the submined i!em confinncd tha!!hc ret:ei"et blank has been
     partially machined. including a takedo....n pin bole and elt1mlJl(:e for the takcdo\\n-pin
     lug. Our enmination confinncd thai Ihe takcdown-pin lug elearance area is less!han
     1.6 incbes. measured from immed;au:ly forward or the fron! oftbc buffer-rcLainer hole
     (~pOOlOS below). The sample is completely solid and un-machined in the fue-control
     ret:tsS area and, accordingly. is!l2! a "fireann~ as defined in the GCA.




                                     Subm Itted prolOlr pt' sa mple

     To facilitate mum of the submItted sample, please provIde FTB with an appropriate
      FcdEx or simil!lJ" !\Coount number within 60 days ofrcccipt of this letle!".

      We thank you for your inquiry and trusl the fOn'going has been respons.i,·c 10 your
      request.


                                            Sincen:ly yours.
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1918 Page 119 of 122
         Case 1:14-cv-01211-JAM-SAB     Document 1 Filed 07/31/14 Page 31 of
                           Mr. Bradley Ree<:e                                44 3
                                                                           Page


     ' TlT LE!7 C.·R CIIAI'TF:R II
     f,!,RT .... 7- 1,\t I'ORTAT ION Of ",RM S. AM.\ll"" l'IO;\, A.'J) IMPLEM E",S Ol'WAR

     SubJ>l'" B-Otfilliliod'
     1 .... '.11 M.an lncor,fro ....

     Orrl1UO' anida. Any ...m <bipltl...! m f oW?.! I Of i 4-I7.l l. l"hIs "'"" ",,1I.de. <nOCIt\>. """,kup<. ...d
     od..,- _ b "<<115 .. b,,"h m-·~o.\Il«hanl <I... d,,~dy ~lalln& 10 1 447.21 Of f 447.22. foo- purposnof
     Cattpy XX II. trlyilcmmwIltfalN DIIIht U.s, MlllUoons [jg (22 O'R PV1121~

     s..bpln C~TM l. oS. MunUloll> Impon Lhl
     § 447.1I T .... L .s. MunIU..n.-lmpon !.iii.

     Tho U.S. '\IUIIIOOIIO Lilt ~ by                w
                                                 ~ ofs..~. otr..:t oi"tkfrnsc T.u C(llIIn)h.. and
     publ,ibnI ~1 22 011 111.1 . ..,th W deletlO1lS indicated. h&i bc-eII adnpIN IU an <n""",raUon orlhc dcfens.:
     amo ..... ubj~ 10 ~""ltUbi uaob-lIIiI. part. Tbe ,~<d list. !C1 oo.:l wlo .., 'hal~ for dill ~ ofdUI
     ~ bot kno:;n.!".1hr l."S "' _ _ 1lIIpOI"Il.i;.t:


     T HE L oS. ,\ l UNI1'IO;\,S 1.\IPORl' I. IST
     CAn:COKl'I_ nH.£ARMS
     (.1 " _ _ II<' oad ""","wlOmal>C fueanm. Ie> calibn" .so ""1w.I.... ooniIaI obo1a...... Ind ~ .."lIh
     ~h lou thin LS mcl>ot m IrnJth.1nd III ~ and porU r..... _ h fiffltmL
     (b) AUl<>matic fInoumI and.n ~"" IIId po ... for _h f"cam>< 10 caliber -SO ""I""i,"~.
     {.I ~~.""y typo firnmIJ or od..,- " ..apoas bI,-mg. sp«u.! miliwy ~lo:>I';" (I! ..
     • 10l0I' _1111 " 'UfOa 1~1 ~ of nob"btT and all ""'~_ and pans foo- tudo fiu,.......
     (<I) fha"", .ikn="s and I~UOB. "",!,.dinK flash lIIpIIkSOOB.

     ...."'-
     (<') R,tlescopn 1IWIIIfAcIumlIO .mlilary op«lfiatIoas Ind 1pec1roc.ally <bijp>Od or Im<IifiN       c. ".
     l'OTE: Rl!iC'>. ,,"minn. ""..,I\'<"N, lrod Pi"'OIi. 10 calibo • .5(l indw.,,·~. combll .dootgWII. tndlhotauom wilb
     """,,.. less thion 18 Kloc.a III IftISIh an: iDo:ludcd IUllkrCatoo,Of)' I(a). \ lacllitqunl.lOIbn=hi&wptm..
     moclwoc pWDI. tnd fully &IIInm:01iC nflc:lll> caliber .so inc:IuU>.., an: "",ll>lkd wnda CaItg...,. lIb).

     i  447.n .·"",Ial" .utln", alld n.. <hlllftl bodies.
     A_Ito ... doc L.s. ).1,,,,,,I0I0< ~ l ... iao:b>de......,\es ia • paru&lly"""'1etcd iw.. loud! .. fllflll'&i.
     ........... u lr\l$inrq., _ madwl.d bodleI) .."Illch hi,.., racl>od • OI>JlC 111 .... aufonur"C "to:", dot)'.",
     clearly id.....f\abl • • • dcfcn.e artio:~ Tribe nod,.uem dan amck on rho U.S. "''''''tOO ~ l uI,
     (ino:lo,Io:IlftI co .............. ~ atuchmm<s >ad pIfU) Ihrn doc partic:II1aI" I"<orpns. CIilIina. ....1nISiDo.
     ...Iuatd loocIy."",_ II coaid ..d. ckf~ In,d. oubj«! II> doc COIIUOI< orthr$pan. ucqII foo: oud!
      itcmt .. an: in ........ ' ....nul. ,eial .....
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1919 Page 120 of 122




                        Exhibit ‘J’
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1920 Page 121 of 122
         Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 43 of 44
Case 3:14-cv-00548-JLS-KSC Document 109 Filed 08/05/16 PageID.1921 Page 122 of 122
         Case 1:14-cv-01211-JAM-SAB Document 1 Filed 07/31/14 Page 44 of 44
